Case 21-30589-MBK            Doc 404      Filed 11/15/21 Entered 11/15/21 13:01:01                       Desc Main
                                        Document      Page 1 of 84



                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION


 In re                                                             Chapter 11

 LTL MANAGEMENT LLC, 1                                             Case No. 21-30589 (JCW)

                           Debtor.


     DEBTOR’S EX PARTE APPLICATION FOR AN ORDER AUTHORIZING IT
 TO RETAIN AND EMPLOY JONES DAY AS COUNSEL AS OF THE PETITION DATE

                  The above-captioned debtor (the “Debtor”) applies to the Court for the entry of an

 order authorizing it to retain and employ Jones Day as counsel in this chapter 11 case as of

 October 14, 2021 (the “Petition Date”). In support of this Application, the Debtor respectfully

 represents as follows:

                                                  Background

                  1.       On the Petition Date, the Debtor commenced this reorganization case by

 filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtor is

 authorized to continue to manage its property and operate its business as a debtor in possession

 pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. 2

                  2.       The Debtor is a North Carolina limited liability company. It is the direct

 parent of Royalty A&M LLC, a North Carolina limited liability company, which manages a

 portfolio of royalty revenue streams, including some based on third-party sales of certain



 1       The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
         501 George Street, New Brunswick, New Jersey 08933.
 2       This Court has subject matter jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334.
         This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this Court pursuant to
         28 U.S.C. §§ 1408 and 1409.




 NAI-1522055035
Case 21-30589-MBK         Doc 404     Filed 11/15/21 Entered 11/15/21 13:01:01              Desc Main
                                    Document      Page 2 of 84



 products, and will seek opportunities to acquire or finance additional royalty revenue streams.

 As of the Petition Date, the Debtor was a defendant in thousands of lawsuits asserting personal

 injuries allegedly caused by exposure to talc-containing products.

                  3.    A comprehensive description of the Debtor, its history, its assets and

 liabilities and the events leading to the commencement of this chapter 11 case can be found in

 the Declaration of John K. Kim in Support of First Day Pleadings [Dkt. 5] (the “First Day

 Declaration”), which was filed on the Petition Date and is incorporated herein by reference. In

 addition to the First Day Declaration, the Debtor has filed an Informational Brief [Dkt. 3] to

 provide additional information about its talc litigation, related costs and plans to address these

 matters in this chapter 11 case (the “Chapter 11 Case”)

                  4.    On November 8, 2021, the Court entered an order [Dkt. 355] appointing

 an official committee of talc claimants (the “Talc Committee”) in the Chapter 11 Case.

                                          Relief Requested

                  5.    Pursuant to sections 327(a) and 329(a) of the Bankruptcy Code,

 Rules 2014(a) and 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

 and Rules 2014-1 and 2016-1 of the Rules of Practice and Procedure for the United States

 Bankruptcy Court for the Western District of North Carolina (the “Local Bankruptcy Rules”),

 and consistent with the Guidelines for Compensation and Expense Reimbursement of

 Professionals issued by this Court (the “Compensation Guidelines”), the Debtor hereby seeks

 the entry of an order, substantially in the form attached hereto as Exhibit A, authorizing it to

 retain and employ Jones Day as counsel in the Chapter 11 Case to represent the Debtor in all

 aspects of its reorganization, effective as of the Petition Date, in accordance with the engagement




 NAI-1522055035                                   -2-
Case 21-30589-MBK            Doc 404      Filed 11/15/21 Entered 11/15/21 13:01:01                       Desc Main
                                        Document      Page 3 of 84



 letter dated October 12, 2021 (the “Engagement Letter”), a copy of which is attached hereto as

 Exhibit B. 3

                  6.       In support of this Application, the Debtor submits, and incorporates herein

 by reference, (a) the Declaration of Gregory M. Gordon, a partner in Jones Day (the “Gordon

 Declaration”), a copy of which is attached hereto as Exhibit C, and (b) Jones Day’s Disclosure of

 Compensation (the “Disclosure of Compensation”), a copy of which is attached hereto as

 Exhibit D.

                                                    Argument

 Jones Day’s Qualifications

                  7.       Jones Day is well qualified to serve as the Debtor’s counsel in

 the Chapter 11 Case. Jones Day is one of the largest law firms in the world, with a national and

 international practice, and has substantial experience in all aspects of the law that are expected to

 arise in the Chapter 11 Case, including bankruptcy, general corporate, litigation and tax.

                  8.       Jones Day’s restructuring practice group consists of approximately

 65 attorneys practicing in offices throughout the United States and overseas. Jones Day’s

 restructuring lawyers have played significant roles in a wide array of chapter 11 cases, including

 the cases of Aldrich Pump LLC; Alpha Natural Resources, Inc.; American Apparel, Inc.;

 Bestwall LLC; Chrysler LLC; Dana Corporation; DBMP LLC; The Diocese of Rockville Centre,

 New York; Fresh and Easy Neighborhood Market Inc.; Harry & David Holdings, Inc.; Hostess

 Brands, Inc.; Kaiser Aluminum Corporation; Kaiser Gypsum Company, Inc.; Kmart

 Corporation; LTV Steel Company, Inc.; Metaldyne Corporation; Molycorp, Inc.; NII Holdings,

 Inc.; Peabody Energy Corporation; Plant Insulation Co.; RadioShack Corporation; Specialty
 3
         Any references to, or descriptions of, the Engagement Letter herein are qualified by the express terms of
         the Engagement Letter.




 NAI-1522055035                                          -3-
Case 21-30589-MBK         Doc 404     Filed 11/15/21 Entered 11/15/21 13:01:01             Desc Main
                                    Document      Page 4 of 84



 Products Holding Corporation; Swift Energy Company; and USG Corporation. A number of

 these cases involved substantial personal injury claims, including the cases of: (a) Aldrich Pump

 LLC; (b) Bestwall LLC; (c) Dana Corporation; (d) DBMP LLC; (e) Kaiser Aluminum

 Corporation; (f) Kaiser Gypsum Company, Inc.; (g) Plant Insulation Co.; (h) Specialty Products

 Holding Corp.; and (i) USG Corporation.

                  9.    Jones Day also is familiar with the Debtor’s business. As described below

 and in the Gordon Declaration, prior to the Petition Date Jones Day represented the Debtor,

 Johnson & Johnson (“J&J”) and Johnson & Johnson Consumer Inc. (“Old JJCI”), which ceased

 to exist when the Debtor was formed on October 12, 2021. In connection with this prepetition

 work, Jones Day’s professionals have worked closely with the Debtor’s management and other

 professionals and, as a result, have become well acquainted with the Debtor’s history, business,

 assets and liabilities, corporate structure and related matters. Accordingly, Jones Day has

 developed substantial knowledge regarding the Debtor that will result in effective and efficient

 services in the Chapter 11 Case.

 Services to Be Provided by Jones Day

                  10.   The Debtor anticipates that Jones Day will render general legal services to

 the Debtor as needed throughout the course of the Chapter 11 Case, including, without

 limitation, providing bankruptcy, general corporate, litigation and tax advice. In particular,

 the Debtor anticipates that Jones Day will perform, among others, the following legal services:

                        (a)    advise the Debtor regarding its rights, powers and duties in
                               continuing to operate and manage its assets and properties under
                               chapter 11 of the Bankruptcy Code;

                        (b)    prepare on behalf of the Debtor all necessary and appropriate
                               applications, motions, proposed orders, other pleadings, notices,
                               schedules and other documents, and review all financial and other
                               reports to be filed in the Chapter 11 Case;



 NAI-1522055035                                  -4-
Case 21-30589-MBK          Doc 404     Filed 11/15/21 Entered 11/15/21 13:01:01                Desc Main
                                     Document      Page 5 of 84



                         (c)     advise the Debtor concerning, and prepare responses to,
                                 applications, motions, other pleadings, notices and other papers
                                 that may be filed by other parties in the Chapter 11 Case, and
                                 appear on behalf of the Debtor in any hearings or other
                                 proceedings relating to those matters;

                         (d)     advise and assist the Debtor in negotiations with the Debtor’s
                                 stakeholders;

                         (e)     advise the Debtor concerning executory contract and unexpired
                                 lease issues;

                         (f)     advise the Debtor in connection with the formulation, negotiation
                                 and promulgation of any plan of reorganization, disclosure
                                 statement and related transactional documents;

                         (g)     assist the Debtor in reviewing, estimating and resolving claims
                                 asserted against the Debtor’s estate;

                         (h)     commence and conduct litigation that is necessary and appropriate
                                 to assert rights held by the Debtor, protect assets of the Debtor’s
                                 chapter 11 estate or otherwise further the goal of completing
                                 the Debtor’s successful reorganization;

                         (i)     provide non-bankruptcy services for the Debtor to the extent
                                 requested by the Debtor, including, among others, advice related to
                                 corporate governance; and

                         (j)     perform all other necessary and appropriate legal services in
                                 connection with the Chapter 11 Case for or on behalf of
                                 the Debtor, as requested by the Debtor.

                  11.    The Debtor requires knowledgeable counsel to render these essential

 professional services. Jones Day has substantial expertise in all of these areas. Moreover, as

 indicated above, Jones Day has obtained valuable institutional knowledge of the Debtor’s

 history, assets, liabilities and financial affairs as a result of its representation of the Debtor and

 Old JJCI prior to the Petition Date. Accordingly, the Debtor respectfully submits that Jones Day

 is well qualified to perform these services and represent the Debtor’s interests in the Chapter 11

 Case.




 NAI-1522055035                                     -5-
Case 21-30589-MBK           Doc 404      Filed 11/15/21 Entered 11/15/21 13:01:01                    Desc Main
                                       Document      Page 6 of 84



                  12.     The Debtor also is seeking to retain: (a) Rayburn Cooper & Durham, P.A.

 as local bankruptcy counsel in North Carolina; 4 (b) Bates White, LLC as talc consultants;

 (c) AlixPartners, LLP as financial advisor; (d) King & Spalding as special counsel for talc

 matters; (e) Shook, Hardy & Bacon L.L.P. as special counsel for talc matters; (f) McCarter

 English, LLP as special counsel for insurance matters; and (g) Weil, Gotshal & Manges LLP as

 special counsel for talc matters.5 Jones Day will coordinate its work in the Chapter 11 Case to

 minimize duplication of effort.

 Compensation and Fee Applications

                  13.     Pursuant to the terms of the Engagement Letter and subject to the Court’s

 approval of this Application, Jones Day intends to: (a) charge for its legal services on an hourly

 basis in accordance with the ordinary and customary hourly rates in effect on the date services

 are rendered; and (b) seek reimbursement of actual and necessary out-of-pocket expenses.

                  14.     Jones Day will be compensated at its standard hourly rates, which are

 based on the professionals’ level of experience. At present, the standard hourly rates charged by

 Jones Day in the United States fall within the following ranges:

                                    Billing Category             U.S. Range

                                    Partners/Of Counsel          $1,000–$1,450

                                    Associates                   $575–$975

                                    Paralegals                   $325–$500




 4       The Court entered an ex parte order authorizing the Debtor to retain and employ Rayburn Cooper &
         Durham, P.A [Dkt. 370]. The Debtor will seek to retain Wollmuth Maher & Deutsch LLP as local
         bankruptcy counsel in New Jersey.
 5       Johnson & Johnson Consumer Inc. (“New JJCI”) and J&J have retained White & Case LLP and Moore &
         Van Allen PLLC as their bankruptcy and local counsel, respectively.




 NAI-1522055035                                       -6-
Case 21-30589-MBK             Doc 404      Filed 11/15/21 Entered 11/15/21 13:01:01                      Desc Main
                                         Document      Page 7 of 84



                  15.      Jones Day’s hourly rates may change annually in accordance with

 the terms of the Engagement Letter and Jones Day’s established billing practices and procedures.

 The names, positions, resident offices and current hourly rates of those Jones Day professionals

 currently expected to spend significant time on the Chapter 11 Case are attached as Schedule 3 to

 the Gordon Declaration.

                  16.      Jones Day’s hourly fees are comparable to those charged by attorneys of

 similar experience and expertise for engagements of a scope and complexity similar to

 the Chapter 11 Case. Further, Jones Day’s bankruptcy professionals are subject to the same

 client-driven market forces, scrutiny and accountability as its professionals in non-bankruptcy

 engagements. For all of these reasons, Jones Day’s rates are reasonable and favorable to

 the Debtor’s estate.

                  17.      Jones Day will maintain detailed, contemporaneous time records in

 six-minute intervals and apply to the Court for payment of compensation and reimbursement of

 expenses in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy

 Rules, the Local Bankruptcy Rules, the Compensation Guidelines, the Interim Compensation

 Order (as defined below) and any additional procedures that may be established by the Court in

 the Chapter 11 Case. Jones Day intends to use the following billing categories: 6


            CATEGORY                                                 DESCRIPTION


                                          Includes all actions to extend or enforce the automatic stay,
     Automatic Stay                       motions to modify the automatic stay and issues related to
                                          the effect of the automatic stay on pending matters.


 6
          These categories are consistent with and expand upon the project categories in the Compensation
          Guidelines. Jones Day, in its discretion and in consultation with the Debtor, may determine to create
          separate sub-billing categories for certain discrete projects undertaken during the Chapter 11 Case.




 NAI-1522055035                                          -7-
Case 21-30589-MBK         Doc 404     Filed 11/15/21 Entered 11/15/21 13:01:01           Desc Main
                                    Document      Page 8 of 84




            CATEGORY                                      DESCRIPTION


                                    Includes general case administration services;
                                    communications with the United States Bankruptcy
                                    Administrator for the Western District of North Carolina
  Case Administration               (the “Bankruptcy Administrator”) not within the scope of
                                    other matter numbers; maintenance of case docket and
                                    calendar; and preparation and review of other reports, notices
                                    and service lists.


                                    Includes any bar date matters, claims objections and related
                                    contested matters and other claims administration activities,
  Claims Administration
                                    in connection with non-talc claims and unrelated to talc
                                    estimation matters.


  Court Hearings                    Includes preparation for and attendance at court hearings.


                                    Includes all actions taken to respond to creditor inquiries
  Creditor Inquiries                about the Chapter 11 Case that are general in nature and not
                                    chargeable to another matter number.


  Employee Matters                  Includes matters relating to any seconded employees.


                                    Includes contract and lease analysis and matters relating to
  Executory Contracts and           assumption, assumption and assignment, rejection or
  Unexpired Leases                  recharacterization of executory contracts and unexpired
                                    leases.


                                    Includes preparation of Jones Day fee applications and
  Fee Application Preparation
                                    related activities and the preparation of monthly invoices.


                                    Includes any matters relating to funding the Debtors or the
                                    plan of reorganization (the “Plan”), including
  Financing Matters
                                    implementation of the Funding Agreement (as defined in the
                                    Gordon Declaration).




 NAI-1522055035                                 -8-
Case 21-30589-MBK       Doc 404     Filed 11/15/21 Entered 11/15/21 13:01:01            Desc Main
                                  Document      Page 9 of 84




            CATEGORY                                    DESCRIPTION


                                  Includes all transactional, corporate governance and related
  General Corporate               matters involving the Debtor that do not relate to the Plan or
                                  disclosure statement process.


                                  Includes all non-bankruptcy litigation and adversary
  Litigation and Adversary        proceedings (i.e., actions initiated by a complaint in this
  Proceedings                     Court); also includes all other contested matters that do not
                                  fit within another, more specific matter description.


  Nonworking Travel               Includes all nonworking travel time.


                                  Includes formulation, negotiation, preparation and
  Plan of Reorganization and      promulgation of a Plan, disclosure statements and related
  Disclosure Statement            corporate and other documentation to implement the Plan,
                                  research relating thereto and matters related to exclusivity.


                                  Includes preparation of applications to retain professionals,
  Professional Retention/Fee
                                  other matters relating to retention of professionals and
  Issues
                                  objections to fees of other professionals.


                                  Includes preparation of schedules of assets and liabilities and
                                  amendments thereto, a statement of financial affairs and
                                  amendments thereto, status reports and other reports required
  Reporting
                                  by the Bankruptcy Administrator, the Bankruptcy Code,
                                  the Bankruptcy Rules, the Local Bankruptcy Rules or
                                  the Court.


                                  Includes issues relating to talc claims, including analysis,
                                  valuation, strategy, negotiations, communications and
  Talc Matters
                                  meetings related to talc claims and any work on talc claims
                                  estimation matters.


                                  Includes all federal and state income, property, excise and
  Tax Advice
                                  other tax matters, including tax planning matters.




 NAI-1522055035                               -9-
Case 21-30589-MBK              Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                              Desc Main
                                      Document    Page 10 of 84




             CATEGORY                                                  DESCRIPTION


                                            Includes all matters relating to postpetition uses of property
     Use, Sale, Lease of Assets
                                            of the estate (including any acquisitions or dispositions).


                    18.      Jones Day contemplates using the following expense categories:

 (a) copies; (b) outside printing; (c) telephone; (d) facsimile; (e) delivery services/couriers;

 (f) postage; (g) local travel; (h) out-of-town travel (including subcategories for transportation,

 hotel, meals, ground transportation and other); (i) local meals; (j) court fees; (k) subpoena fees;

 (l) witness fees; (m) deposition transcripts; (n) trial transcripts; (o) trial exhibits; (p) litigation

 support vendors; (q) experts; (r) investigators; (s) arbitrators/mediators; and (t) other.

 Compensation Prior to the Petition Date

                    19.      Prior to the Petition Date, on October 12, 2021, Old JJCI paid Jones Day a

 retainer of $500,000.00 for professional services and expenses to be provided to the Debtor

 (the “Retainer”).

                    20.      As described in the Disclosure of Compensation, the Retainer represents

 the total payment Jones Day received for services provided to the Debtor in the one-year period

 preceding the Petition Date. The application of the Retainer through the Petition Date reflects

 estimated fees and expenses for the period from October 12, 2021 through October 14, 2021

 (the “Debtor Estimated Amount”). As of the Petition Date, the Retainer balance was $0.00. 7


 7
           Jones Day expects to: (a) complete its reconciliation of prepetition fees and expenses actually incurred for
           the period prior to the Petition Date no later than the filing of its first interim fee application in the
           Chapter 11 Case; (b) make a corresponding adjustment to the amount of the Retainer on or about that date;
           and (c) disclose such adjustment in its first interim fee application. If Jones Day’s unbilled actual fees and
           expenses for the period prior to the Petition Date are less than the Debtor Estimated Amount, the balance
           will be added to the Retainer and applied consistent with the terms of any order establishing procedures for
           interim compensation and reimbursement of expenses of retained professionals (any such order,
           the “Interim Compensation Order”). Jones Day will not apply any portion of the Retainer to fees and



 NAI-1522055035                                            -10-
Case 21-30589-MBK            Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                             Desc Main
                                    Document    Page 11 of 84



 Jones Day requests that it be permitted to hold any amounts comprising the Retainer (following

 the reconciliation described herein and in the Disclosure of Compensation) as a postpetition

 retainer subject to the terms of the Interim Compensation Order. 8

                  21.      In addition, prior to the Petition Date, J&J paid Jones Day a total of

 $4,953,859.25 for actual fees and expenses for March 30, 2021 through August 31, 2021 and

 estimated fees and expenses for September 1, 2021 through October 11, 2021 (the “J&J

 Estimated Amount”) 9 relating to certain prepetition legal services provided to J&J and Old JJCI,

 in connection with (a) advice regarding restructuring matters related to talc liabilities; (b) the

 corporate restructuring completed on October 12, 2021; and (c) other related legal services. As

 described in the Gordon Declaration, as a result of this corporate restructuring, the Debtor was

 assigned Jones Day’s engagement with Old JJCI. 10 Jones Day’s representation of J&J in respect

 of restructuring matters was terminated as of October 12, 2021.

 Disclosure Concerning Disinterestedness

                  22.      The Gordon Declaration, incorporated herein by reference, discloses

 Jones Day’s connections to the Debtor and parties in interest in the Chapter 11 Case. In reliance


         expenses incurred from and after the Petition Date unless and until authorized to do so by a further order of
         this Court, including the Interim Compensation Order.
 8
         The Debtor has filed the Motion for an Order Establishing Procedures for Interim Compensation and
         Reimbursement of Expenses of Retained Professionals (the “Interim Compensation Motion”) [Dkt. 231],
         which seeks entry of the Interim Compensation Order. Pursuant to the Interim Compensation Motion,
         the Debtor requests, among other things, that on notice to the Debtor, retained professionals will be
         authorized to use any remaining amount of their prepetition retainers to satisfy some or all of an Authorized
         Payment (as defined in the Interim Compensation Motion); provided that each professional will utilize any
         remaining retainer by the time it files its first Interim Fee Application (as defined in the Interim
         Compensation Motion) or as soon thereafter as is practicable.
 9
         Jones Day expects to complete its reconciliation of fees and expenses actually incurred for September 1,
         2021 through October 11, 2021 soon. Upon completion of the reconciliation process, if Jones Day’s
         unbilled actual fees and expenses for that period are less than the J&J Estimated Amount, the balance of
         those funds will be returned to J&J.
 10      The terms of Jones Day’s engagement by Old JJCI in respect of restructuring matters were superseded in
         their entirety by the Engagement Letter.




 NAI-1522055035                                         -11-
Case 21-30589-MBK            Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                            Desc Main
                                    Document    Page 12 of 84



 on the Gordon Declaration, and except as set forth therein and in this Application, the Debtor

 believes that: (a) Jones Day has no connection with the Debtor, its affiliates, 11 its creditors,

 the Bankruptcy Administrator, any person employed in the office of the Bankruptcy

 Administrator or any other party with an actual or potential interest in the Chapter 11 Case or

 their respective attorneys or accountants; (b) Jones Day is not a creditor, equity holder or insider

 of the Debtor; (c) none of Jones Day’s lawyers is, or was within two years of the Petition Date, a

 director, officer or employee of the Debtor; and (d) Jones Day neither holds nor represents an

 interest materially adverse to the Debtor or its estate. Accordingly, the Debtor believes that

 Jones Day is a “disinterested person,” as defined in section 101(14) of the Bankruptcy Code and

 as required by section 327(a) of the Bankruptcy Code.

                  23.      In the event that Jones Day’s representation of the Debtor in connection

 with any matter in the Chapter 11 Case would result in it becoming adverse to a party in interest

 that gives rise to a professional conflict, the Debtor will use separate counsel to represent its

 interests with respect to such matter against such party. If necessary and with the approval of the

 Court, additional conflicts counsel may be retained in connection with that matter.

                                     Legal Basis for Relief Requested

                  24.      Under section 327(a) of the Bankruptcy Code, a debtor in possession is

 authorized to employ professional persons “that do not hold or represent an interest adverse to

 the estate, and that are disinterested persons, to represent or assist the [debtor] in carrying out

 [its] duties under this title.” 11 U.S.C. § 327(a). 12 Section 1107(b) of the Bankruptcy Code


 11
         As described in the Gordon Declaration, Jones Day currently represents certain non-debtor affiliates of the
         Debtor, including J&J, in matters unrelated to the Chapter 11 Case.
 12
         Section 101(14) of the Bankruptcy Code defines the phrase “disinterested person” as:
                  a person that —




 NAI-1522055035                                         -12-
Case 21-30589-MBK            Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                            Desc Main
                                    Document    Page 13 of 84



 elaborates upon sections 101(14) and 327(a) of the Bankruptcy Code in cases under chapter 11

 of the Bankruptcy Code and provides that “a person is not disqualified for employment under

 section 327 of [the Bankruptcy Code] by a debtor in possession solely because of such person’s

 employment by or representation of the debtor before the commencement of the case.”

 11 U.S.C. § 1107(b).

                  25.      As required by section 329(a) of the Bankruptcy Code13 and Bankruptcy

 Rule 2014(a), 14 the above-described facts set forth in this Application and the information in


                  (A)      is not a creditor, an equity security holder, or an insider;
                  (B)       is not and was not, within 2 years before the date of the filing of the
                  petition, a director, officer, or employee of the debtor; and
                  (C)      does not have an interest materially adverse to the interest of the estate
                  or of any class of creditors or equity security holders, by reason of any direct or
                  indirect relationship to, connection with, or interest in, the debtor, or for any
                  other reason.
         11 U.S.C. § 101(14).
 13
         Section 329(a) of the Bankruptcy Code provides as follows:
                  Any attorney representing a debtor in a case under this title, or in connection
                  with such a case, whether or not such attorney applies for compensation under
                  this title, shall file with the court a statement of the compensation paid or agreed
                  to be paid, if such payment or agreement was made after one year before the
                  date of the filing of the petition, for services rendered or to be rendered in
                  contemplation of or in connection with the case by such attorney, and the source
                  of such compensation.
         11 U.S.C. § 329(a). This information is set forth in the Disclosure of Compensation attached hereto as
         Exhibit D.
 14
         Bankruptcy Rule 2014(a) provides that an application seeking the employment of professional persons
         pursuant to section 327 of the Bankruptcy Code:
                  shall state the specific facts showing the necessity for the employment, the name
                  of the person to be employed, the reasons for the selection, the professional
                  services to be rendered, any proposed arrangement for compensation, and, to the
                  best of the applicant’s knowledge, all of the person’s connections with the
                  debtor, creditors, any other party in interest, their respective attorneys and
                  accountants, the United States trustee, or any person employed in the office of
                  the United States trustee. The application shall be accompanied by a verified
                  statement of the person to be employed setting forth the person’s connections
                  with the debtor, creditors, any other party in interest, their respective attorneys
                  and accountants, the United States trustee, or any person employed in the office
                  of the United States trustee.
         Fed. R. Bankr. P. 2014(a).




 NAI-1522055035                                           -13-
Case 21-30589-MBK         Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                 Desc Main
                                 Document    Page 14 of 84



 the exhibits attached hereto set forth: (a) the specific facts showing the necessity for Jones Day’s

 employment; (b) the reasons for the Debtor’s selection of Jones Day as its counsel in connection

 with the Chapter 11 Case; (c) the professional services proposed to be provided by Jones Day;

 (d) the arrangement between the Debtor and Jones Day with respect to Jones Day’s

 compensation, including information on retainers and hourly fees and the reasonableness thereof;

 and (e) to the best of the Debtor’s knowledge, the extent of Jones Day’s connections, if any, to

 certain parties in interest in these matters. Accordingly, Jones Day’s retention by the Debtor

 should be approved.

                                                Notice

                  26.    Pursuant to Local Bankruptcy Rule 9013-1(f), the Debtor seeks approval

 of this Application on an ex parte basis. Nevertheless, consistent with the Order Establishing

 Certain Notice, Case Management and Administrative Procedures [Dkt. 322] (the “Case

 Management Order”), notice of this Application has been provided to: (a) the Bankruptcy

 Administrator; (b) the Talc Committee; (c) counsel to the Debtor’s non debtor affiliates, New

 JJCI and J&J; and (d) the other parties on the Service List established by the Case Management

 Order. The Debtor submits that, in light of the ex parte nature of the relief requested, no other or

 further notice need be provided.

                                          No Prior Request

                  27.    No prior request for the relief sought in this Application has been made to

 this or any other Court in connection with the Chapter 11 Case.

                  WHEREFORE, the Debtor respectfully requests that the Court: (a) enter an

 order, substantially in the form attached hereto as Exhibit A, granting the relief requested herein;

 and (b) grant such other and further relief to the Debtor as the Court may deem just and proper.




 NAI-1522055035                                  -14-
Case 21-30589-MBK       Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01   Desc Main
                               Document    Page 15 of 84



 Dated: November 15, 2021                  Respectfully submitted,
        Charlotte, North Carolina
                                           LTL Management LLC

                                           By: /s/ John K. Kim
                                               John K. Kim
                                               Chief Legal Officer




 NAI-1522055035                          -15-
Case 21-30589-MBK      Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01   Desc Main
                              Document    Page 16 of 84



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 Facsimile: (312) 782-8585
 E-mail: bberens@jonesday.com
 (Admitted pro hac vice)




 NAI-1522055035                            -16-
Case 21-30589-MBK   Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01   Desc Main
                           Document    Page 17 of 84



                                  EXHIBIT A

                                 Proposed Order




 NAI-1522055035
Case 21-30589-MBK            Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                           Desc Main
                                    Document    Page 18 of 84




                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION


 In re                                                            Chapter 11

 LTL MANAGEMENT LLC, 1                                            Case No. 21-30589 (JCW)

                          Debtor.


              EX PARTE ORDER AUTHORIZING DEBTOR TO RETAIN AND
             EMPLOY JONES DAY AS COUNSEL AS OF THE PETITION DATE

                  This matter coming before the Court on the Debtor’s Ex Parte Application for an

 Order Authorizing It to Retain and Employ Jones Day as Counsel as of the Petition Date

 (the “Application”), 2 filed by the debtor in the above-captioned case (the “Debtor”); the Court

 having reviewed the Application, the Gordon Declaration, the Disclosure of Compensation and

 the Engagement Letter; the Court finding that (a) the Court has jurisdiction over this matter

 pursuant to 28 U.S.C. §§ 157 and 1334, (b) venue is proper in this district pursuant to




 1       The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
         501 George Street, New Brunswick, New Jersey 08933.
 2
         Capitalized terms not otherwise defined herein have the meanings given to them in the Application.




 NAI-1522055035
Case 21-30589-MBK         Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                 Desc Main
                                 Document    Page 19 of 84



 28 U.S.C. §§ 1408 and 1409, (c) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2),

 (d) notice of the Application was sufficient under the circumstances, (e) Jones Day does not hold

 or represent any interest materially adverse to the Debtor’s estate and is a “disinterested person,”

 as defined in section 101(14) of the Bankruptcy Code and as required by section 327 of the

 Bankruptcy Code and (f) the Application and all related schedules and exhibits fully comply with

 the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules and the Compensation

 Guidelines; and the Court having determined that the legal and factual bases set forth in the

 Application, the Gordon Declaration and the Disclosure of Compensation establish just cause for

 the relief granted herein;

                  IT IS HEREBY ORDERED THAT:

                  1.    The Application is GRANTED.

                  2.    The Debtor is authorized to retain and employ Jones Day as its counsel in

 the above-captioned chapter 11 case (the “Chapter 11 Case”), in accordance with section 327(a)

 of the Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016 and Local Bankruptcy

 Rules 2014-1 and 2016-1, on the terms and conditions set forth in the Application and

 the Engagement Letter, as of the Petition Date.

                  3.    Jones Day is authorized to render the professional services set forth in

 the Application, the Engagement Letter and the Gordon Declaration.

                  4.    Jones Day will use its reasonable efforts to avoid any duplication of

 services provided by any of the Debtor’s other retained professionals in the Chapter 11 Case.




 NAI-1522055035                                    -2-
Case 21-30589-MBK         Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                   Desc Main
                                 Document    Page 20 of 84



                  5.    Jones Day shall be compensated for its services and reimbursed for any

 related expenses as set forth in the Application and the exhibits thereto, and in accordance with

 applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy

 Rules, any Interim Compensation Order entered in the Chapter 11 Case and any other applicable

 orders or procedures of this Court.

                  6.    Jones Day shall: (a) complete its reconciliation of prepetition fees and

 expenses actually incurred on behalf of the Debtor for the period prior to the Petition Date no

 later than the filing of its first interim fee application in the Chapter 11 Case; (b) make a

 corresponding adjustment to the amount of the Retainer on or about that date, as described in the

 Application and the exhibits thereto; and (c) disclose such adjustment in its first interim fee

 application. Subject to the foregoing adjustment, Jones Day is authorized to hold any remaining

 amount of the Retainer following such reconciliation in a trust account subject to the terms of

 any Interim Compensation Order entered in the Chapter 11 Case.

                  7.    Jones Day shall not apply any portion of the Retainer to fees and expenses

 incurred from and after the Petition Date unless and until authorized to do so by a further order

 of this Court, including any Interim Compensation Order entered in the Chapter 11 Case.

                  8.    To the extent that the terms of this Order are inconsistent with the terms of

 the Engagement Letter, the terms of this Order shall control.

                  9.    This Order shall be immediately effective and enforceable upon its entry.

                  10.   Pursuant to Local Bankruptcy Rule 9013-1(f), any party shall be entitled

 to request a hearing or request that the Court reconsider entry of this Order by filing a motion for

 reconsideration within 14 days of service of this Order.




 NAI-1522055035                                   -3-
Case 21-30589-MBK        Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                 Desc Main
                                Document    Page 21 of 84



                  11.   The Debtor is authorized and empowered to take all actions necessary to

 implement the relief granted in this Order in accordance with the Application.

                  12.   This Court shall retain exclusive jurisdiction over any and all matters

 arising from or related to the implementation, interpretation or enforcement of this Order.


 This Order has been signed electronically.                         United States Bankruptcy Court
 The Judge’s signature and Court’s seal appear
 at the top of the Order.




 NAI-1522055035                                  -4-
Case 21-30589-MBK   Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01   Desc Main
                           Document    Page 22 of 84



                                  EXHIBIT B

                               Engagement Letter




 NAI-1522055035
Case 21-30589-MBK              Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                              Desc Main
                                      Document    Page 23 of 84


                                2727 NORTH HARWOOD STREET • DALLAS, TEXAS 75201.1515

                                 TELEPHONE: +1.214.220.3939 • FACSIMILE: +1.214.969.5100


                                                                                               Direct Number: (214) 969-3759
                                                                                                  gmgordon@jonesday.com




                                                 October 12, 2021


 Mr. John K. Kim, Esq.
 Chief Legal Officer
 LTL Management LLC
 501 George St.
 New Brunswick, New Jersey 08933

                                 Re:      Engagement of Jones Day

 Dear John:

          Thank you for retaining Jones Day for this engagement. We are pleased that you have
 sought our counsel, and we look forward to assisting you on the matters described below. This
 letter sets forth the scope and terms of our engagement by LTL Management LLC, a North
 Carolina limited liability company (the "Company or "you"), in connection with the following
 services (collectively, the "Matters"): providing advice regarding restructuring issues, as well as
 certain other related matters, including the Company's preparation for the possible
 commencement, administration and completion of a case (a "Bankruptcy Case") under
 chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101-1532 (the "Bankruptcy
 Code"). This letter supersedes in its entirety the terms of our engagement by Johnson & Johnson
 Consumer, Inc. regarding restructuring advice.

          1.        Scope of Engagement and Client Relationship

        While Jones Day enjoys broad relationships involving multiple matters for many clients,
 we do not act as general counsel for clients and our work and advice is limited to the specific
 matters on which we are engaged. Thus our relationship may expand beyond the Matters
 described above, but only if you and we agree to specific new or expanded engagements.

          It is important to emphasize that we are entering into an attorney-client relationship only
 with the Company in connection with the Matters. That is, unless you and we agree otherwise,
 Jones Day is not representing any owner, employee, parent, subsidiary or other direct or indirect
 affiliate of the Company.

        If you believe that the Company's personnel or any of its affiliates are unclear regarding
 the scope of our representation, please advise them that Jones Day does not represent them in
 connection with the Matters or, if you prefer, let us know so we can explain the scope of our
 engagement to them.

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 SAN FRANCISCO x SÃO PAULO x SAUDI ARABIA x SHANGHAI x SILICON VALLEY x SINGAPORE x S YDNEY x TAIPEI x TOKYO x WASHINGTON
Case 21-30589-MBK              Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01            Desc Main
                                      Document    Page 24 of 84



 Mr. John K. Kim
 October 12, 2021
 Page 2


         The Company is an indirect wholly-owned subsidiary of Johnson & Johnson. Jones Day
 formerly represented Johnson & Johnson and its wholly-owned subsidiary, Johnson & Johnson
 Consumer Inc., in connection with the restructuring of Johnson & Johnson Consumer Inc. Jones
 Day currently represents Johnson & Johnson in matters unrelated to the Matters. Jones Day has
 not represented, does not and will not represent Johnson & Johnson or any affiliate of the
 Company in any matter adverse to the Company.

         2.         Staffing

         The Company has designated the individual to whom this letter is addressed above as the
 person with responsibility for overseeing this matter and to whom we will report. I will have
 primary responsibility for this engagement, and will rely on other lawyers at Jones Day to work
 as a team as we handle the necessary work on the Matters. I will be the Partner generally
 responsible for our overall relationship with you, including matters related to billing and staffing.
 Our goal is to stay in close contact with you over the course of our engagement as we seek to
 provide the Company with timely, high quality legal services in a cost-efficient manner.

         3.         Compensation and Disbursements

         Generally, our fees are determined by the time devoted by each lawyer or other service
 provider involved in the engagement and the hourly billing rates assigned to each such person.
 Currently, hourly rates for our lawyers who are likely to be working on this matter range from
 $1,125 to $1,450 for partners and $525 to $975 for associates. Our hourly rates are revised
 periodically, and we may revise them from time to time during the course of our representation
 of the Company.

         Unless we specifically agree in writing to the contrary, any fee estimate, budget, or
 projection of hours is not a commitment to cap our fees or perform the services within a fixed
 amount of time or for a fixed fee.

         In addition to our fees, we expect the Company to defray certain costs and expenses
 incurred during our representation. A description of our Disbursements and Charges Billing
 Policies is included with this letter. Please note that although our charges for non-cash costs
 incurred by Jones Day reflect our good faith estimate of our actual, fully absorbed, out-of-pocket
 costs, those estimates may differ from our actual costs. Normally, disbursements and charges
 will be subject to reimbursement from the Company pursuant to the retainer arrangement
 described below. In some circumstances, however, such as in the case of particularly large
 items, we may ask the Company to pay these items directly or in advance.

        We will submit billing statements to you on a monthly (or, if circumstances require, a
 more frequent) basis. If you have any question or concern about any billing statement, we ask
 NAI-1521358169v2
Case 21-30589-MBK            Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01              Desc Main
                                    Document    Page 25 of 84



 Mr. John K. Kim
 October 12, 2021
 Page 3


 that you raise it with us promptly upon your receipt of the statement and, in any event, not more
 than 30 days after your receipt of the invoice. As we have discussed, we are holding a $500,000
 retainer at the time of the execution of this letter (the "Retainer"). Our fees and expenses shall be
 deemed automatically applied against such Retainer as such fees and expenses are incurred
 (which for fees is as the services are performed), unless we notify you otherwise in writing. You
 agree to provide us with additional retainer amounts from time to time in order to maintain the
 Retainer at $500,000.

        Under Part 137 of the Rules of the Chief Administrator of the Courts in New York, you
 have the right to arbitrate any fee disputes as provided in that rule, a copy of which will be
 provided to you at your request.

         4.         Potentially Adverse Representations or Conflicts of Interest; Advance Waiver

         Jones Day represents many clients on a wide variety of matters in a number of different
 practice areas. A further description of our Firm and areas of practice is available on our
 website, at www.jonesday.com.

          Just as you in the future may ask us to represent the Company in a matter that is directly
 adverse to one of our other clients, it is possible Jones Day will be asked in the future to
 represent another client in a matter that is directly adverse to you. We want you and our other
 clients to be able to choose Jones Day as their counsel on matters where it is appropriate to do so.
 Accordingly, you agree that Jones Day in the future may represent any existing or future client in
 any transaction and counseling matter (but not litigation or other dispute resolution matter) that is
 directly adverse to the Company. Your agreement to this waiver is based on two understandings
 as follows. First, Jones Day will not represent another client adverse to you in a matter that is
 substantially related to any of the matters that we are handling for you. Second, to the extent
 Jones Day does represent a client adverse to you, Jones Day lawyers or other service providers
 who are then working for the Company will not work on that adverse matter for that other client
 and we will take steps to ensure that your confidential information is not shared with our lawyers
 or other time keepers involved in that adverse matter.

         You also confirm that your agreement to this prospective waiver is voluntary and that you
 intend for it to be effective and enforceable and for Jones Day to rely upon it.

         5.         Bankruptcy Cases

         If the Company determines to file a petition under chapter 11 of the Bankruptcy Code,
 our ongoing employment by the Company will be subject to the approval of the bankruptcy court
 with jurisdiction over the petition. If necessary, we will modify the terms and conditions of our

 NAI-1521358169v2
Case 21-30589-MBK            Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01              Desc Main
                                    Document    Page 26 of 84



 Mr. John K. Kim
 October 12, 2021
 Page 4


 employment described above as may be required to comply with the applicable requirements of
 the bankruptcy process, including any orders of the bankruptcy court.

         In the event of a potential chapter 11 filing by the Company, we will take steps necessary
 to prepare the conflict of interest disclosure required in connection with our retention as
 bankruptcy counsel. We will initiate the process of reviewing conflict checks on potentially
 interested parties in key categories, as and when provided to us by the Company, including
 (a) the Company's managers and officers and their respective business affiliations, (b) the
 Company's largest unsecured creditors, (c) the Company's other material secured and unsecured
 creditors, (d) counterparties to material contracts and leases with the Company, (e) parties to
 significant litigation with the Company, and (f) any material lenders to the Company.

         A list of entities that will be checked in our conflict system (the "Interested Party List")
 will be created based upon information the Company provides. We also will compile a
 preliminary draft of a schedule describing our relationships with certain of the entities identified
 on the Interested Party List in matters unrelated to the Company or its potential Bankruptcy Case
 (the "Disclosure Schedule"). We will provide the Company with a draft of the Disclosure
 Schedule after it is available. Although we believe that these relationships likely will not
 constitute conflicts of interest, these relationships must be described and disclosed in the
 Company's application to the bankruptcy court to retain Jones Day as counsel.

        If actual conflicts of interest arise with respect to any of the parties identified on the
 Disclosure Schedule, the following procedures will be utilized: (a) we may determine that Jones
 Day is unable to represent the Company in matters adverse to those parties; and (b) if we make
 such a determination, the Company will be required to use separate counsel in those matters, and
 Jones Day will not participate in those matters. Jones Day will not represent any party adverse to
 the Company, or take any position adverse to the Company, in any Bankruptcy Case.

        The Disclosure Schedule will be updated as new information becomes available until any
 Bankruptcy Case is commenced; thereafter, the Disclosure Schedule will continue to be
 supplemented on a periodic basis throughout the course of the Bankruptcy Case. We will
 provide the Company with updated Interested Party Lists and Disclosure Schedules after they
 become available.

         6.         Audit Letter Issues

         Our policy is to comply with the American Bar Association Statement of Policy
 Regarding Lawyers' Responses to Auditors' Requests for Information regarding the scope and
 content of responses to requests to provide information to auditors, except when such ABA
 Policy is clearly inapplicable.

 NAI-1521358169v2
Case 21-30589-MBK           Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01               Desc Main
                                   Document    Page 27 of 84



 Mr. John K. Kim
 October 12, 2021
 Page 5


         7.         Procedures upon Termination; Return of Documents; Intellectual Property

         Unless earlier terminated by you or us, our attorney client relationship will end once we
 have completed our last assignment for you in connection with the Matters. As we complete
 specific projects for you, Jones Day will close its file numbers for those matters. Once we have
 completed our work on a particular assignment, and at your request, we will return any of your
 property that might be in our possession. Consistent with our professional obligations, we also
 may keep copies of core documents and pleadings, as well as our own property relating to the
 Matters, including lawyer work product, notes and administrative records, whether in an
 electronic or hard copy format.

         You agree that Jones Day will be free, on the later of the date set by bar requirements
 applicable to lawyers practicing in the State of Texas or seven years after the end of our
 relationship, to destroy or otherwise dispose of any documents or other materials, including
 electronic versions, relating to your representation and still in our possession without further
 notice to you.

         We may retain all intellectual property and other know-how that we develop in the course
 of representing you, including subject matter expertise, whether or not preserved in written or
 electronic form. We may use that property in the course of representing other clients, so long as
 none of your confidential information is disclosed.




 NAI-1521358169v2
Case 21-30589-MBK          Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                     Desc Main
                                  Document    Page 28 of 84

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                                  Document    Page 29 of 84
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Case 21-30589-MBK   Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01   Desc Main
                           Document    Page 30 of 84



                                  EXHIBIT C

                               Gordon Declaration




 NAI-1522055035
Case 21-30589-MBK            Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                           Desc Main
                                    Document    Page 31 of 84



                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION


 In re                                                            Chapter 11

 LTL MANAGEMENT LLC, 1                                            Case No. 21-30589 (JCW)

                          Debtor.


                           DECLARATION OF GREGORY M. GORDON

                  Pursuant to Rule 2014(a) of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), and Rules 2014-1 and 2016-1 of the Rules of Practice and Procedure

 of the United States Bankruptcy Court for the Western District of North Carolina (the “Local

 Bankruptcy Rules”), I, Gregory M. Gordon, hereby declare as follows:

                  1.      I am an attorney at law admitted and in good standing to practice in

 the State of Texas, before the United States District Court for the Northern District of Texas and

 before the United States Court of Appeals for the Eighth Circuit.

                  2.      I am a partner with the law firm of Jones Day and am duly authorized to

 make this declaration on behalf of Jones Day. I make this declaration in support of the Debtor’s

 Ex Parte Application for an Order Authorizing It to Retain and Employ Jones Day as Counsel as

 of the Petition Date (the “Application”). 2 The facts set forth in this declaration are personally

 known to me and, if called as a witness, I could and would testify thereto.




 1       The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
         501 George Street, New Brunswick, New Jersey 08933.
 2
         Capitalized terms not otherwise defined herein have the meanings given to them in the Application.




 NAI-1522055035
Case 21-30589-MBK         Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                 Desc Main
                                 Document    Page 32 of 84



                                    Jones Day’s Qualifications

                  3.    Jones Day is well qualified to serve as the Debtor’s counsel in

 the Chapter 11 Case. Jones Day is one of the largest law firms in the world, with a national and

 international practice, and has substantial experience in all aspects of the law that are expected to

 arise in the Chapter 11 Case, including bankruptcy, general corporate, litigation and tax.

                  4.    Jones Day’s restructuring practice group consists of approximately

 65 attorneys practicing in offices throughout the United States and overseas. Jones Day’s

 restructuring lawyers have played significant roles in a wide array of chapter 11 cases, including

 the cases of Aldrich Pump LLC; Alpha Natural Resources, Inc.; American Apparel, Inc.;

 Bestwall LLC; Chrysler LLC; Dana Corporation; DBMP LLC; The Diocese of Rockville Centre,

 New York; Fresh and Easy Neighborhood Market Inc.; Harry & David Holdings, Inc.; Hostess

 Brands, Inc.; Kaiser Aluminum Corporation; Kaiser Gypsum Company, Inc.; Kmart

 Corporation; LTV Steel Company, Inc.; Metaldyne Corporation; Molycorp, Inc.; NII Holdings,

 Inc.; Peabody Energy Corporation; Plant Insulation Co.; RadioShack Corporation; Specialty

 Products Holding Corporation; Swift Energy Company; and USG Corporation. A number of

 these cases involved substantial personal injury claims, including the cases of: (a) Aldrich Pump

 LLC; (b) Bestwall LLC; (c) Dana Corporation; (d) DBMP LLC; (e) Kaiser Aluminum

 Corporation; (f) Kaiser Gypsum Company, Inc.; (g) Plant Insulation Co.; (h) Specialty Products

 Holding Corporation; and (i) USG Corporation.

                  5.    Jones Day also is familiar with the Debtor’s business. As described

 further below, Jones Day represented the Debtor and Johnson & Johnson Consumer Inc. (“Old

 JJCI”), which ceased to exist when the Debtor was formed on October 12, 2021, prior to the




                                                  -2-
 NAI-1522055035
Case 21-30589-MBK           Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                 Desc Main
                                   Document    Page 33 of 84



 Petition Date.3 In connection with this prepetition work, Jones Day’s professionals have worked

 closely with the Debtor’s management and other professionals and, as a result, have become well

 acquainted with the Debtor’s history, business, assets and liabilities, corporate structure and

 related matters. Accordingly, Jones Day has developed substantial knowledge regarding the

 Debtor that will result in effective and efficient services in the Chapter 11 Case.

                                 Services to Be Provided by Jones Day

                  6.      Jones Day will render general legal services to the Debtor as needed

 throughout the course of the Chapter 11 Case, including, without limitation, providing

 bankruptcy, general corporate, litigation and tax advice. In particular, Jones Day will perform,

 among others, the following legal services:

                          (a)     advise the Debtor regarding its rights, powers and duties in
                                  continuing to operate and manage its assets and properties under
                                  chapter 11 of the Bankruptcy Code;

                          (b)     prepare on behalf of the Debtor all necessary and appropriate
                                  applications, motions, proposed orders, other pleadings, notices,
                                  schedules and other documents, and review all financial and other
                                  reports to be filed in the Chapter 11 Case;

                          (c)     advise the Debtor concerning, and prepare responses to,
                                  applications, motions, other pleadings, notices and other papers
                                  that may be filed by other parties in the Chapter 11 Case, and
                                  appear on behalf of the Debtor in any hearings or other
                                  proceedings relating to those matters;

                          (d)     advise and assist the Debtor in negotiations with the Debtor’s
                                  stakeholders;

                          (e)     advise the Debtor concerning executory contract and unexpired
                                  lease issues;

                          (f)     advise the Debtor in connection with the formulation, negotiation
                                  and promulgation of any plan of reorganization, disclosure
                                  statement and related transactional documents;

 3
         As also described below, Jones Day has also represents Johnson & Johnson (“J&J”).



                                                      -3-
 NAI-1522055035
Case 21-30589-MBK         Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                Desc Main
                                 Document    Page 34 of 84



                        (g)    assist the Debtor in reviewing, estimating and resolving claims
                               asserted against the Debtor’s estate;

                        (h)    commence and conduct litigation that is necessary and appropriate
                               to assert rights held by the Debtor, protect assets of the Debtor’s
                               chapter 11 estate or otherwise further the goal of completing
                               the Debtor’s successful reorganization;

                        (i)    provide non-bankruptcy services for the Debtor to the extent
                               requested by the Debtor, including, among others, advice related to
                               corporate governance; and

                        (j)    perform all other necessary and appropriate legal services in
                               connection with the Chapter 11 Case for or on behalf of the
                               Debtor, as requested by the Debtor.

                  7.    Jones Day will coordinate its work in the Chapter 11 Case with

 the Debtor, the Debtor’s other retained professionals, and counsel to the Debtor’s affiliates to

 minimize duplication of effort among these firms.

                               Compensation and Fee Applications

                  8.    Pursuant to the terms of the Engagement Letter and subject to the Court’s

 approval of this Application, Jones Day intends to: (a) charge for its legal services on an hourly

 basis in accordance with the ordinary and customary hourly rates in effect on the date services

 are rendered; and (b) seek reimbursement of actual and necessary out-of-pocket expenses.

                  9.    Jones Day will be compensated at its standard hourly rates, which are

 based on the professionals’ level of experience. At present, the standard hourly rates charged by

 Jones Day in the United States fall within the following ranges:

                                 Billing Category          U.S. Range

                                 Partners/Of Counsel       $1,000–$1,450

                                 Associates                $575–$975

                                 Paralegals                $325–$500




                                                 -4-
 NAI-1522055035
Case 21-30589-MBK          Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                     Desc Main
                                  Document    Page 35 of 84



                  10.    Jones Day’s hourly rates may change annually in accordance with

 the terns of the Engagement Letter and Jones Day’s established billing practices and procedures.

 The names, positions, resident offices and current hourly rates of those Jones Day professionals

 currently expected to spend significant time on the Chapter 11 Case are attached as Schedule 3

 hereto.

                  11.    Jones Day’s hourly fees are comparable to those charged by attorneys of

 similar experience and expertise for engagements of a scope and complexity similar to

 the Chapter 11 Case. Further, I believe that Jones Day’s bankruptcy professionals are subject to

 the same client-driven market forces, scrutiny and accountability as its professionals in

 non-bankruptcy engagements.

                  12.    Jones Day will maintain detailed, contemporaneous time records in

 six-minute intervals and apply to the Court for payment of compensation and reimbursement of

 expenses in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy

 Rules, the Local Bankruptcy Rules, the Compensation Guidelines, the Interim Compensation

 Order and any additional procedures that may be established by the Court in the Chapter 11

 Case. In addition, Jones Day understands that interim and final fee awards are subject to

 approval by this Court.

                               Disclosure Concerning Disinterestedness

 Interested Party List

                  13.    The Debtor has provided Jones Day with a list of the names of individuals

 or institutions that are potential significant parties in interest (collectively, the “Interested

 Parties”) in the following categories:

                         (a)     the Debtor’s direct equity owner;

                         (b)     the Debtor’s direct non-debtor subsidiary;

                                                    -5-
 NAI-1522055035
Case 21-30589-MBK          Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                    Desc Main
                                  Document    Page 36 of 84



                         (c)     other non-debtor affiliates of the Debtor;

                         (d)     managers and officers of the Debtor;

                         (e)     major current business affiliations of the Debtor’s managers;

                         (f)     depositary and disbursement banks of the Debtor;

                         (g)     major sureties;

                         (h)     parties to material contracts with the Debtor;

                         (i)     significant co-defendants in talc-related litigation;

                         (j)     the Debtor’s retained professionals and claims agent;

                         (k)     the Debtor’s significant ordinary course professionals, consultants
                                 and service providers;

                         (l)     known professionals for certain non-Debtor parties in interest;

                         (m)     material potentially indemnified parties;

                         (n)     key parties in Imerys Talc America, Inc. and Cyprus Mines Corp.
                                 chapter 11 cases;

                         (o)     the Debtor’s insurers; and

                         (p)     parties in interest that have filed a Bankruptcy Rule 2002 notice of
                                 appearance in the Chapter 11 Case.

                  14.    The list of Interested Parties also includes available information regarding

 (a) the Bankruptcy Administrator and employees within the office of the United States

 Bankruptcy Administrator for the Western District of North Carolina and (b) bankruptcy judges

 for the Western District of North Carolina. The identities of the Interested Parties, developed as

 of November 3, 2021, are set forth on Schedule 1 hereto.

 Evaluation and Disclosure of Connections

                  15.    To check and clear potential conflicts of interest in these cases, as well as

 to determine all “connections” (as such term is used in Bankruptcy Rule 2014) to the Debtor, its

 affiliates, its creditors, other parties in interest, their respective attorneys, the Bankruptcy


                                                    -6-
 NAI-1522055035
Case 21-30589-MBK         Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                  Desc Main
                                 Document    Page 37 of 84



 Administrator or any person employed in the office of the Bankruptcy Administrator, Jones Day

 researched its client database to determine whether it had any relationships with the Interested

 Parties. To the extent that Jones Day’s research of its relationships with the Interested Parties

 indicates that Jones Day has represented in the past two years, or currently represents, any of

 these entities in matters unrelated to the Chapter 11 Case, the identities of these entities and such

 entities’ relationship to the Debtor and connection to Jones Day, are set forth in Schedule 2

 hereto.

                  16.   To the best of my knowledge and belief, insofar as I have been able to

 ascertain after reasonable inquiry, neither I, nor Jones Day, nor any partner, associate or other

 professional thereof has any connection with the Debtor, its creditors, the Bankruptcy

 Administrator or any other party with an actual or potential interest in the Chapter 11 Case or

 their respective attorneys or accountants, except as set forth below and in Schedule 2 attached

 hereto:

                        (a)     Jones Day has not represented, and does not and will not represent,
                                any entity in matters adverse to the Debtor or its estate.

                        (b)     Prior to the Petition Date, Jones Day performed certain legal
                                services for the Debtor, as described herein, but the Debtor does
                                not owe Jones Day any amount for services performed prior to
                                the Petition Date.

                        (c)     Prior to the Petition Date, Jones Day represented J&J and Old JJCI
                                in connection with the restructuring that led to the formation of the
                                Debtor, as described below.

                        (d)     In matters unrelated to the Debtor or the Chapter 11 Case,
                                Jones Day currently represents J&J. Jones Day, however, has not
                                represented, and does not and will not represent, J&J in the
                                Chapter 11 Case or in matters adverse to the Debtor or its estate.

                        (e)     In matters unrelated to the Debtor or the Chapter 11 Case,
                                Jones Day currently represents or formerly represented certain of
                                the Debtor’s other non-debtor affiliates, as described on the
                                attached Schedule 2. Jones Day, however, has not represented, and

                                                  -7-
 NAI-1522055035
Case 21-30589-MBK     Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01               Desc Main
                             Document    Page 38 of 84



                          does not and will not represent, any of these entities in the
                          Chapter 11 Case or in matters adverse to the Debtor or its estate.

                    (f)   In matters unrelated to the Debtor or the Chapter 11 Case,
                          Jones Day currently represents Bank of America, N.A., the
                          Debtor’s depository and disbursement bank, and affiliates thereof.
                          These relationships are set forth on the attached Schedule 2. Jones
                          Day, however, has not represented, and does not and will not
                          represent, Bank of America, N.A. in the Chapter 11 Case or in
                          matters adverse to the Debtor or its estate.

                    (g)   In matters unrelated to the Debtor or the Chapter 11 Case,
                          Jones Day currently represents U.S. Bank National Association,
                          the proposed trustee of the Debtor’s proposed qualified settlement
                          fund. These relationships are set forth on the attached Schedule 2.
                          Jones Day, however, has not represented, and does not and will not
                          represent, U.S. Bank National Association in the Chapter 11 Case
                          or in matters adverse to the Debtor or its estate.

                    (h)   In matters unrelated to the Debtor or the Chapter 11 Case, Jones
                          Day currently represents Imerys S.A., which is the ultimate parent
                          of Imerys Talc America, Inc., Imerys Talc Vermont, Inc. and
                          Imerys Talc Canada, Inc., debtors in pending chapter 11 cases in
                          Delaware. This relationship is set forth on the attached
                          Schedule 2. Jones Day, however, has not represented, and does
                          not and will not represent, Imerys S.A. in the Chapter 11 Case or in
                          matters adverse to the Debtor or its estate.

                    (i)   In matters unrelated to the Debtor or the Chapter 11 Case,
                          Jones Day currently represents certain material potentially
                          indemnified parties and certain additional parties who are
                          significant co-defendants in talc cases with the Debtor and certain
                          of the Debtor’s affiliates. These relationships are set forth on the
                          attached Schedule 2. Jones Day, however, has not represented, and
                          does not and will not represent, any of these entities in the
                          Chapter 11 Case or in matters adverse to the Debtor or its estate.

                    (j)   In matters unrelated to the Debtor or the Chapter 11 Case,
                          Jones Day currently represents certain of the Debtor’s insurers.
                          These relationships are set forth on the attached Schedule 2. Jones
                          Day, however, has not represented, and does not and will not
                          represent, any of these entities in the Chapter 11 Case or in matters
                          adverse to the Debtor or its estate.

                    (k)   In addition to the specific parties identified above, in matters
                          unrelated to the Debtor or the Chapter 11 Case, Jones Day
                          currently represents, formerly represented or may in the future


                                           -8-
 NAI-1522055035
Case 21-30589-MBK         Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                   Desc Main
                                 Document    Page 39 of 84



                                represent certain other entities that are or may be (i) creditors in
                                this case, (ii) parties to executory contracts with the Debtor or
                                (iii) otherwise directly or indirectly affiliated with creditors or
                                other parties in interest in the Chapter 11 Case. As described
                                above, however, Jones Day has undertaken a detailed search to
                                determine whether it represents or has represented any significant
                                creditors, equity holders, insiders or other parties in interest in such
                                unrelated matters, and all such known representations within the
                                last two years are set forth on Schedule 2 hereto.

                        (l)     In matters unrelated to the Debtor or the Chapter 11 Case,
                                Jones Day has been involved in out-of-court restructurings and
                                chapter 11 cases involving certain of the other professionals who
                                will be representing the Debtor and other parties in the Chapter 11
                                Case, or who have represented the Debtor in the year prior to
                                the Petition Date. Jones Day, however, has not represented, and
                                does not and will not represent, any of these entities in the
                                Chapter 11 Case or in matters adverse to the Debtor or its estate.

 Jones Day’s Services Prior to the Petition Date, Role in
 the 2021 Corporate Restructuring and Representation of
 Certain Non-Debtor Affiliates in Unrelated Matters

                  17.   The Debtor ultimately is owned, through certain intermediate companies,

 by J&J. Since 1989, Jones Day has provided certain legal services to J&J and certain of its direct

 and indirect subsidiaries, including the predecessor to the Debtor, Old JJCI. These legal services

 have included advice and assistance related to intellectual property, labor and employment,

 mergers and acquisition, restructuring, and tax matters. Each year, Jones Day’s work for J&J

 and its affiliates has represented less than 1% of the firm’s total revenues.

                  18.   Earlier this year, Jones Day represented J&J and Old JJCI in connection

 with restructuring advice related to talc liabilities. This included representing J&J and Old JJCI

 in connection with a corporate restructuring that was completed on October 12, 2021 (the “2021

 Corporate Restructuring”). Prior to the 2021 Corporate Restructuring, the Debtor did not exist,

 and Jones Day’s clients in that restructuring were J&J and Old JJCI. The 2021 Corporate

 Restructuring was effectuated through a series of transactions that are described in greater detail


                                                  -9-
 NAI-1522055035
Case 21-30589-MBK           Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                         Desc Main
                                   Document    Page 40 of 84



 in the First Day Declaration. As part of these transactions, Old JJCI, after converting to a Texas

 limited liability company, effected a divisional merger under the Texas merger statute.

                  19.     Upon the effectiveness of the divisional merger, (a) Old JJCI ceased to

 exist, (b) two new limited liability companies—the Debtor and Johnson & Johnson Consumer,

 Inc. (“New JJCI”)—were created and (c) all of the assets and liabilities of Old JJCI were

 allocated between the Debtor and New JJCI. Pursuant to the divisional merger, the Debtor:

 (a) became responsible for certain liabilities of Old JJCI, including Old JJCI’s talc-related

 liabilities (other than liabilities for which the exclusive remedy is provided under a workers’

 compensation statute or similar laws); and (b) received certain assets, including cash, rights as a

 payee under a funding agreement (the “Funding Agreement”) 4 and equity in Royalty A&M LLC.

 The Debtor also was assigned, among others, Jones Day’s engagement by Old JJCI. 5 Pursuant

 to the divisional merger, all other assets and liabilities of Old JJCI not allocated to the Debtor

 were allocated to New JJCI, with ownership of such other assets vesting in New JJCI, and New

 JJCI becoming the sole obligor for such other liabilities.

                  20.     In addition to the Funding Agreement, the Debtor receives support from

 Johnson & Johnson Services, Inc. through a services agreement and a secondment agreement, as

 described in the First Day Declaration.

                  21.     Jones Day has not represented, and does not and will not represent,

 New JJCI, J&J or any other affiliate of the Debtor in this Chapter 11 Case or in any matter




 4
         Following the divisional merger, the Funding Agreement became an agreement between the Debtor, as
         payee, and New JJCI and J&J, as payors.
 5       The terms of Jones Day’s engagement by Old JJCI regarding restructuring advice were superseded in their
         entirety by the Engagement Letter.



                                                      -10-
 NAI-1522055035
Case 21-30589-MBK            Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                Desc Main
                                    Document    Page 41 of 84



 adverse to the Debtor. To that end, New JJCI and J&J have retained White & Case LLP to

 represent them in matters relating to the Debtor and the Chapter 11 Case.

                                 Jones Day Is a Disinterested Person

                  22.    To the best of my knowledge, information and belief, insofar as I have

 been able to ascertain after reasonable inquiry, Jones Day is a “disinterested person,” as defined

 in sections 101(14) and 1107(b) of the Bankruptcy Code and as required by section 327(a) of

 the Bankruptcy Code, in that: (a) Jones Day has no connection with the Debtor, its affiliates, its

 creditors, the Bankruptcy Administrator, any person employed in the office of the Bankruptcy

 Administrator or any other party with an actual or potential interest in the Chapter 11 Case or

 their respective attorneys or accountants, except as set forth herein; (b) Jones Day is not a

 creditor, equity holder or insider of the Debtor; (c) no Jones Day partner, associate or other

 professional is, or was within two years of the Petition Date, a director, officer or employee of

 the Debtor; and (d) Jones Day neither holds nor represents an interest materially adverse to

 the Debtor or its estate.

                  23.    Despite the efforts described above to identify and disclose connections

 with parties in interest in this case, because the Debtor is part of a large enterprise and has

 thousands of creditors and other relationships, and because Jones Day is an international firm

 with more than 2,500 attorneys in 42 offices around the globe, Jones Day is unable to state with

 certainty that every client representation or other connection of Jones Day has been disclosed.

 In this regard, if Jones Day discovers additional information that requires disclosure, Jones Day

 will file supplemental disclosures with the Court.

                  24.    In addition, it is my understanding that if a conflict of interest with respect

 to a party set forth on Schedule 2 or another party in interest later identified in this case should

 arise, the Debtor will use the services of conflicts counsel in connection with that matter.

                                                  -11-
 NAI-1522055035
Case 21-30589-MBK          Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01               Desc Main
                                  Document    Page 42 of 84



                  Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is true and correct to the best of my knowledge and belief.

 Dated: November 15, 2021                            /s/ Gregory M. Gordon
        Dallas, Texas                                Gregory M. Gordon (TX Bar No. 08435300)
                                                     JONES DAY
                                                     2727 North Harwood Street
                                                     Dallas, Texas 75201
                                                     Telephone: (214) 220-3939
                                                     Facsimile: (214) 969-5100




                                                 -12-
 NAI-1522055035
Case 21-30589-MBK   Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01   Desc Main
                           Document    Page 43 of 84



                                   SCHEDULE 1

                      Schedule of Potentially Interested Parties




 NAI-1522055035
Case 21-30589-MBK     Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01        Desc Main
                             Document    Page 44 of 84



                                 LTL Management LLC
                               Potentially Interested Parties

 Debtor                                          AMO Groningen B.V.
                                                 AMO International Holdings
 LTL Management LLC                              AMO Ireland
                                                 AMO Ireland Finance Unlimited Company
 Direct Equity Owner of Debtor                   AMO Italy SRL
                                                 AMO Japan K.K.
 Johnson and Johnson Consumer Inc.               AMO Manufacturing Spain S.L.
                                                 AMO Manufacturing USA, LLC
 Debtor’s Direct Non-Debtor Subsidiary           AMO Netherlands BV
                                                 AMO Nominee Holdings, LLC
 Royalty A&M LLC                                 AMO Norway AS
                                                 AMO Puerto Rico Manufacturing, Inc.
 Other Non-Debtor Affiliates
                                                 AMO Sales and Service, Inc.
 3Dintegrated ApS                                AMO Singapore Pte. Ltd.
 Acclarent, Inc.                                 AMO Spain Holdings, LLC
 Actelion Ltd                                    AMO Switzerland GmbH
 Actelion Manufacturing GmbH                     AMO U.K. Holdings, LLC
 Actelion Pharmaceuticals Australia              AMO United Kingdom, Ltd.
    Pty. Limited                                 AMO Uppsala AB
 Actelion Pharmaceuticals Korea Ltd.             AMO US Holdings, Inc.
 Actelion Pharmaceuticals Ltd                    AMO USA Sales Holdings, Inc.
 Actelion Pharmaceuticals Mexico                 AMO USA, LLC
    S.A. De C.V.                                 Animas Diabetes Care, LLC
 Actelion Pharmaceuticals Trading                Animas LLC
    (Shanghai) Co., Ltd.                         Animas Technologies LLC
 Actelion Pharmaceuticals UK Limited             AorTx, Inc.
 Actelion Pharmaceuticals US, Inc.               Apsis
 Actelion Registration Limited                   Aragon Pharmaceuticals, Inc.
 Actelion Treasury Unlimited Company             Asia Pacific Holdings, LLC
 Akros Medical, Inc.                             Atrionix, Inc.
 Albany Street LLC                               AUB Holdings LLC
 ALZA Corporation                                Auris Health, Inc.
 Alza Land Management, Inc.                      Backsvalan 2 Aktiebolag
 AMO (Hangzhou) Co., Ltd.                        Backsvalan 6 Handelsbolag
 AMO (Shanghai) Medical Devices                  Beijing Dabao Cosmetics Co., Ltd.
    Trading Co., Ltd.                            BeneVir BioPharm, Inc.
 AMO ASIA LIMITED                                Berna Rhein B.V.
 AMO Australia Pty Limited                       BioMedical Enterprises, Inc.
 AMO Canada Company                              Biosense Webster (Israel) Ltd.
 AMO Denmark ApS                                 Biosense Webster, Inc.
 AMO Development, LLC                            C Consumer Products Denmark ApS
 AMO France                                      Calibra Medical LLC
 AMO Germany GmbH                                Campus-Foyer Apotheke GmbH
Case 21-30589-MBK     Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01             Desc Main
                             Document    Page 45 of 84



 Carlo Erba OTC S.r.l.                            EIT Emerging Implant Technologies GmbH
 Centocor Biologics, LLC                          Ethicon Biosurgery Ireland
 Centocor Research & Development, Inc.            Ethicon Endo-Surgery (Europe) GmbH
 ChromaGenics B.V.                                Ethicon Endo-Surgery, Inc.
 Ci:Labo Customer Marketing Co., Ltd.             Ethicon Endo-Surgery, LLC
 Ci:z. Labo Co., Ltd.                             Ethicon Holding Sarl
 Cilag AG                                         Ethicon Ireland Unlimited Company
 Cilag GmbH International                         Ethicon LLC
 Cilag Holding AG                                 Ethicon PR Holdings Unlimited Company
 Cilag Holding Treasury Unlimited Company         Ethicon Sarl
 Cilag-Biotech, S.L.                              Ethicon US, LLC
 CNA Development GmbH                             Ethicon Women's Health & Urology Sarl
 Codman & Shurtleff, Inc.                         Ethicon, Inc.
 Coherex Medical, Inc.                            Ethnor (Proprietary) Limited
 ColBar LifeScience Ltd.                          Ethnor del Istmo S.A.
 Company Store.com, Inc.                          Ethnor Farmaceutica, S.A.
 Cordis de Mexico, S.A. de C.V.                   Ethnor Guatemala, Sociedad Anomina
 Cordis International Corporation                 Finsbury (Development) Limited
 Corimmun GmbH                                    Finsbury (Instruments) Limited
 CoTherix Inc.                                    Finsbury Medical Limited
 CSATS, Inc.                                      Finsbury Orthopaedics International Limited
 Darlain Trading S.A.                             Finsbury Orthopaedics Limited
 Debs-Vogue Corporation                           FMS Future Medical System SA
   (Proprietary) Limited                          GH Biotech Holdings Limited
 DePuy France                                     Global Investment Participation B.V.
 DePuy Hellas SA                                  GMED Healthcare BV
 DePuy International Limited                      Guangzhou Bioseal Biotech Co., Ltd.
 DePuy Ireland Unlimited Company                  Hansen Medical Deutschland GmbH
 DePuy Mexico, S.A. de C.V.                       Hansen Medical International, Inc.
 DePuy Mitek, LLC                                 Hansen Medical UK Limited
 DePuy Orthopaedics, Inc.                         Hansen Medical, Inc.
 DePuy Products, Inc.                             Healthcare Services (Shanghai) Ltd.
 DePuy Spine, LLC                                 I.D. Acquisition Corp.
 DePuy Synthes Gorgan Limited                     Innomedic Gesellschaft für innovative
 DePuy Synthes Institute, LLC                        Medizintechnik und Informatik mbH
 DePuy Synthes Leto SARL                          Innovalens B.V.
 DePuy Synthes Products, Inc.                     Innovative Surgical Solutions, LLC
 DePuy Synthes Sales, Inc.                        J & J Company West Africa Limited
 DePuy Synthes, Inc.                              J&J Pension Trustees Limited
 Dr. Ci:Labo Co., Ltd.                            J.C. General Services BV
 DR. CI:LABO COMPANY LIMITED                      Janssen Alzheimer Immunotherapy
 Dutch Holding LLC                                   (Holding) Limited
 ECL7, LLC                                        Janssen Biologics (Ireland) Limited
 EES Holdings de Mexico,                          Janssen Biologics B.V.
    S. de R.L. de C.V.                            Janssen BioPharma, Inc.
 EES, S.A. de C.V.                                Janssen Biotech, Inc.



                                            -2-
Case 21-30589-MBK       Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01            Desc Main
                               Document    Page 46 of 84



 Janssen Cilag Farmaceutica S.A.                    Janssen-Cilag GmbH
 Janssen Cilag S.p.A.                               Janssen-Cilag International NV
 Janssen Cilag SPA                                  Janssen-Cilag Kft.
 Janssen Cilag, C.A.                                Janssen-Cilag Limited
 Janssen de Mexico, S. de R.L. de C.V.              Janssen-Cilag Limited
 Janssen Development Finance                        Janssen-Cilag Manufacturing, LLC
    Unlimited Company                               Janssen-Cilag NV
 Janssen Diagnostics, LLC                           Janssen-Cilag OY
 Janssen Egypt LLC                                  Janssen-Cilag Pharma GmbH
 Janssen Farmaceutica Portugal Lda                  Janssen-Cilag Pharmaceutical S.A.C.I.
 Janssen Global Services, LLC                       Janssen-Cilag Polska, Sp. z o.o.
 Janssen Group Holdings Limited                     Janssen-Cilag Pty Ltd
 Janssen Holding GmbH                               Janssen-Cilag S.A.
 Janssen Inc.                                       Janssen-Cilag s.r.o.
 Janssen Irish Finance Company UC                   Janssen-Cilag, S.A.
 Janssen Korea Ltd.                                 Janssen-Cilag, S.A. de C.V.
 Janssen Oncology, Inc.                             Janssen-Pharma, S.L.
 Janssen Ortho LLC                                  J-C Health Care Ltd.
 Janssen Pharmaceutica                              Jevco Holding, Inc.
    (Proprietary) Limited                           JJ Surgical Vision Spain, S.L.
 Janssen Pharmaceutica NV                           JJC Acquisition Company B.V.
 Janssen Pharmaceutica S.A.                         JJHC, LLC
 Janssen Pharmaceutical                             JJSV Belgium BV
 Janssen Pharmaceutical K.K.                        JJSV Manufacturing Malaysia SDN. BHD.
 Janssen Pharmaceutical Sciences                    JJSV Norden AB
    Unlimited Company                               JJSV Produtos Oticos Ltda.
 Janssen Pharmaceuticals, Inc.                      JNJ Global Business Services s.r.o.
 Janssen Products, LP                               JNJ Holding EMEA B.V.
 Janssen R&D Ireland                                JNJ International Investment LLC
 Janssen Research & Development, LLC                JNJ Irish Investments ULC
 Janssen Sciences Ireland                           Johnson & Johnson
    Unlimited Company                               Johnson & Johnson - Societa' Per Azioni
 Janssen Scientific Affairs, LLC                    Johnson & Johnson (Angola), Limitada
 Janssen Supply Group, LLC                          Johnson & Johnson (China) Investment Ltd.
 Janssen Vaccines & Prevention B.V.                 Johnson & Johnson (Egypt) S.A.E.
 Janssen Vaccines Corp.                             Johnson & Johnson (Hong Kong) Limited
 Janssen-Cilag                                      Johnson & Johnson (Ireland) Limited
 Janssen-Cilag (New Zealand) Limited                Johnson & Johnson (Jamaica) Limited
 Janssen-Cilag A/S                                  Johnson & Johnson (Kenya) Limited
 Janssen-Cilag AG                                   Johnson & Johnson (Middle East) Inc.
 Janssen-Cilag Aktiebolag                           Johnson & Johnson (Mozambique),
 Janssen-Cilag AS                                       Limitada
 Janssen-Cilag B.V.                                 Johnson & Johnson (Namibia)
 Janssen-Cilag de Mexico S. de R.L. de C.V.            (Proprietary) Limited
 Janssen-Cilag Farmaceutica Lda.                    Johnson & Johnson (New Zealand) Limited
 Janssen-Cilag Farmaceutica Ltda.                   Johnson & Johnson (Philippines), Inc.



                                              -3-
Case 21-30589-MBK      Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01            Desc Main
                              Document    Page 47 of 84



 Johnson & Johnson (Private) Limited               Johnson & Johnson Financial
 Johnson & Johnson (Thailand) Ltd.                    Services GmbH
 Johnson & Johnson (Trinidad) Limited              Johnson & Johnson for Export and
 Johnson & Johnson (Vietnam) Co., Ltd                 Import LLC
 Johnson & Johnson AB                              Johnson & Johnson Foundation Scotland
 Johnson & Johnson AG                                 (NON-PROFIT)
 Johnson & Johnson Belgium                         Johnson & Johnson Gateway, LLC
    Finance Company BV                             Johnson & Johnson Gesellschaft m.b.H.
 Johnson & Johnson Bulgaria EOOD                   Johnson & Johnson GmbH
 Johnson & Johnson China Ltd.                      Johnson & Johnson Guatemala, S.A.
 Johnson & Johnson Consumer                        Johnson & Johnson Health and
    (Hong Kong) Limited                               Wellness Solutions, Inc.
 Johnson & Johnson Consumer                        Johnson & Johnson Health Care
    (Thailand) Limited                                Systems Inc.
 Johnson & Johnson Consumer B.V.                   Johnson & Johnson Hellas Commercial and
 Johnson & Johnson Consumer                           Industrial S.A.
    Holdings France                                Johnson & Johnson Hellas Consumer
 Johnson & Johnson Consumer Inc.                      Products Commercial Societe Anonyme
 Johnson & Johnson Consumer NV                     Johnson & Johnson Hemisferica S.A.
 Johnson & Johnson Consumer                        Johnson & Johnson Holding GmbH
    Saudi Arabia Limited                           Johnson & Johnson Holdings K.K.
 Johnson & Johnson Consumer Services               Johnson & Johnson Inc.
    EAME Ltd.                                      Johnson & Johnson Industrial Ltda.
 Johnson & Johnson d.o.o.                          Johnson & Johnson Innovation - JJDC, Inc.
 Johnson & Johnson de Argentina                    Johnson & Johnson Innovation Limited
    S.A.C. e. I.                                   Johnson & Johnson Innovation LLC
 Johnson & Johnson de Chile Limitada               Johnson & Johnson International
 Johnson & Johnson de Chile S.A.                   Johnson & Johnson International
 Johnson & Johnson de Colombia S.A.                   (Singapore) Pte. Ltd.
 Johnson & Johnson de Costa Rica, S.A.             Johnson & Johnson International Financial
 Johnson & Johnson de Mexico, S.A. de C.V.            Services Company
 Johnson & Johnson de Uruguay S.A.                 Johnson & Johnson Japan Inc.
 Johnson & Johnson de Venezuela, S.A.              Johnson & Johnson K.K.
 Johnson & Johnson del Ecuador, S.A.               Johnson & Johnson Kft.
 Johnson & Johnson Del Paraguay, S.A.              Johnson & Johnson Korea Ltd.
 Johnson & Johnson del Peru S.A.                   Johnson & Johnson Korea Selling &
 Johnson & Johnson do Brasil Industria E              Distribution LLC
    Comercio de Produtos Para Saude Ltda.          Johnson & Johnson Limitada
 Johnson & Johnson Dominicana, S.A.S.              Johnson & Johnson Limited
 Johnson & Johnson Enterprise                      Johnson & Johnson LLC
    Innovation Inc.                                Johnson & Johnson Luxembourg Finance
 Johnson & Johnson European                           Company Sarl
    Treasury Company                               Johnson & Johnson Management Limited
 Johnson & Johnson Finance Corporation             Johnson & Johnson Medical (China) Ltd.
 Johnson & Johnson Finance Limited                 Johnson & Johnson Medical
                                                      (Proprietary) Ltd



                                             -4-
Case 21-30589-MBK      Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01            Desc Main
                              Document    Page 48 of 84



 Johnson & Johnson Medical (Shanghai) Ltd.         Johnson & Johnson Services, Inc.
 Johnson & Johnson Medical (Suzhou) Ltd.           Johnson & Johnson Servicios Corporativos,
 Johnson & Johnson Medical B.V.                       S. de R.L. de C.V.
 Johnson & Johnson Medical Devices &               Johnson & Johnson Surgical Vision India
    Diagnostics Group - Latin America,                Private Limited
    L.L.C.                                         Johnson & Johnson Surgical Vision, Inc.
 Johnson & Johnson Medical GmbH                    Johnson & Johnson Taiwan Ltd.
 Johnson & Johnson Medical Korea Ltd.              Johnson & Johnson UK Treasury
 Johnson & Johnson Medical Limited                    Company Limited
 Johnson & Johnson Medical Mexico, S.A.            Johnson & Johnson Ukraine LLC
    de C.V.                                        Johnson & Johnson Urban Renewal
 Johnson & Johnson Medical NV                         Associates
 Johnson & Johnson Medical                         Johnson & Johnson Vision Care
    Products GmbH                                     (Shanghai) Ltd.
 Johnson & Johnson Medical Pty Ltd                 Johnson & Johnson Vision Care Ireland
 Johnson & Johnson Medical S.A.                       Unlimited Company
 Johnson & Johnson Medical S.p.A.                  Johnson & Johnson Vision Care, Inc.
 Johnson & Johnson Medical SAS                     Johnson & Johnson, S.A.
 Johnson & Johnson Medical                         Johnson & Johnson, S.A. de C.V.
    Saudi Arabia Limited                           Johnson & Johnson, s.r.o.
 Johnson & Johnson Medical Servicios               Johnson & Johnson, s.r.o.
    Profesionales S. de R.L. de C.V.               Johnson and Johnson (Proprietary) Limited
 Johnson & Johnson Medical Taiwan Ltd.             Johnson and Johnson Sihhi Malzeme Sanayi
 Johnson & Johnson Medical, S.C.S.                    Ve Ticaret Limited Sirketi
 Johnson & Johnson Medikal Sanayi ve               JOM Pharmaceutical Services, Inc.
    Ticaret Limited Sirketi                        La Concha Land Investment Corporation
 Johnson & Johnson Middle East FZ-LLC              Latam International Investment Company
 Johnson & Johnson Morocco                            Unlimited Company
    Societe Anonyme                                Lifescan
 Johnson & Johnson Nordic AB                       McNeil AB
 Johnson & Johnson Pacific Pty Limited             McNeil Consumer Pharmaceuticals Co.
 Johnson & Johnson Pakistan                        McNeil Denmark ApS
    (Private) Limited                              McNeil Healthcare (Ireland) Limited
 Johnson & Johnson Panama, S.A.                    McNeil Healthcare (UK) Limited
 Johnson & Johnson Personal Care                   McNeil Healthcare LLC
    (Chile) S.A.                                   McNeil Iberica S.L.U.
 Johnson & Johnson Poland Sp. z o.o.               McNeil LA LLC
 Johnson & Johnson Private Limited                 McNEIL MMP, LLC
 Johnson & Johnson Pte. Ltd.                       McNeil Nutritionals, LLC
 Johnson & Johnson Pty. Limited                    McNeil Panama, LLC
 Johnson & Johnson Research Pty Ltd                McNeil Products Limited
 Johnson & Johnson Romania S.R.L.                  McNeil Sweden AB
 Johnson & Johnson S.E. d.o.o.                     MDS Co. Ltd.
 Johnson & Johnson S.E., Inc.                      Medical Device Business Services, Inc.
 Johnson & Johnson Sante Beaute France             Medical Devices & Diagnostics Global
 Johnson & Johnson SDN. BHD.                          Services, LLC



                                             -5-
Case 21-30589-MBK     Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01       Desc Main
                             Document    Page 49 of 84



 Medical Devices International LLC            Pharmedica Laboratories (Proprietary)
 Medical Industrial do Brasil Ltda.              Limited
 Medos International Sarl                     PMC Holdings G.K.
 Medos Sarl                                   Princeton Laboratories, Inc.
 MegaDyne Medical Products, Inc.              Productos de Cuidado Personal y de La
 Menlo Care De Mexico, S.A. de C.V.              Salud de Bolivia S.R.L.
 Mentor B.V.                                  Proleader S.A.
 Mentor Deutschland GmbH                      PT Integrated Healthcare Indonesia
 Mentor Medical Systems B.V.                  PT. Johnson & Johnson Indonesia
 Mentor Partnership Holding                   Pulsar Vascular, Inc.
    Company I, LLC                            Regency Urban Renewal Associates
 Mentor Texas GP LLC                          RespiVert Ltd.
 Mentor Texas L.P.                            RoC International
 Mentor Worldwide LLC                         Rutan Realty LLC
 Micrus Endovascular LLC                      Scios LLC
 Middlesex Assurance Company Limited          Sedona Enterprise Co., Ltd.
 Momenta Ireland Limited                      Sedona Singapore International Pte. Ltd.
 Momenta Pharmaceuticals, Inc.                Sedona Thai International Co., Ltd.
 NeoStrata Company, Inc.                      Serhum S.A. de C.V.
 NeoStrata UG (haftungsbeschränkt)            Shanghai Elsker For Mother & Baby
 Netherlands Holding Company                     Co., Ltd
 Neuravi Inc.                                 Shanghai Johnson & Johnson Ltd.
 Neuravi Limited                              Shanghai Johnson & Johnson
 NeuWave Medical, Inc.                        Pharmaceuticals Ltd.
 Novira Therapeutics, LLC                     Sightbox, LLC
 NuVera Medical, Inc.                         Sodiac ESV
 Obtech Medical Mexico, S.A. de C.V.          Spectrum Vision Limited Liability Company
 OBTECH Medical Sarl                          Spectrum Vision Limited Liability Company
 OGX Beauty AU Pty Ltd                        Spectrum Vision Limited Liability
 OGX Beauty Limited                             Partnership
 OMJ Holding GmbH                             Spine Solutions GmbH
 OMJ Ireland Unlimited Company                SterilMed, Inc.
 OMJ Pharmaceuticals, Inc.                    Sterilmed, Inc.
 Omrix Biopharmaceuticals Ltd.                Surgical Process Institute Deutschland
 Omrix Biopharmaceuticals NV                     GmbH
 Omrix Biopharmaceuticals, Inc.               Synthes Costa Rica S.C.R., Limitada
 Ortho Biologics LLC                          SYNTHES GmbH
 Ortho Biotech Holding LLC                    Synthes GmbH
 Ortho-McNeil Pharmaceutical, LLC             Synthes Holding AG
 Orthotaxy                                    Synthes Holding Limited
 Patriot Pharmaceuticals, LLC                 SYNTHES Medical Immobilien GmbH
 Peninsula Pharmaceuticals, LLC               Synthes Medical Surgical Equipment &
 Penta Pty. Limited                              Instruments Trading LLC
 Percivia LLC                                 Synthes Produktions GmbH
 Perouse Plastie                              Synthes Proprietary Limited
 Pharmadirect Ltd.                            Synthes S.M.P., S. de R.L. de C.V.



                                        -6-
Case 21-30589-MBK        Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01            Desc Main
                                Document    Page 50 of 84



 Synthes Tuttlingen GmbH                             Major Sureties
 Synthes USA Products, LLC
 Synthes USA, LLC                                    Chubb
 Synthes, Inc.                                       Federal Insurance Company
 TARIS Biomedical LLC                                Liberty Mutual Insurance Company
 TearScience, Inc.                                   Travelers Casualty and Surety Company of
 The Anspach Effort, LLC                                America
 The Vision Care Institute, LLC
 Tibotec, LLC                                        Parties to Material Contracts with the
 Torax Medical, Inc.                                 Debtor
 TriStrata, Incorporated
 UAB "Johnson & Johnson"                             Johnson & Johnson
 Vania Expansion                                     Johnson & Johnson Consumer Inc.
 Verb Surgical Inc.                                  Johnson & Johnson Services, Inc.
 Vision Care Finance Unlimited Company               U.S. Bank N.A.
 Vogue International LLC
 Vogue International Trading, Inc.                   Significant Co-Defendants in Talc-
 WH4110 Development Company, L.L.C.                  Related Litigation
 Xian Janssen Pharmaceutical Ltd.
 XO1 Limited                                         3M Company
 Zarbee's, Inc.                                      A.O. Smith Corporation
                                                     Albertsons Companies, Inc.
 Managers and Officers of the Debtor                 Avon Products, Inc.
                                                     Barretts Minerals, Inc.
 John Kim                                            BASF Catalysts LLC
 Richard Dickinson                                   Block Drug Company, Inc.
 Robert Wuesthoff                                    Borg Warner Morse Tec, Inc.
 Russell Deyo                                        Brenntag North America
                                                     Brenntag Specialties, Inc.
 Major Current Business Affiliations of              Bristol-Myers Squibb Company
 Debtor’s Managers                                   Carrier Corporation
                                                     Chanel, Inc.
 American Foundation for Opioid                      Charles B. Chrystal Co., Inc.
   Alternatives                                      Chattem, Inc.
 Lawyers for Civil Justice                           Colgate-Palmolive Company
 Migration Policy Institute                          Conopco Inc.
 Miller Center for Community Protection &            Costco Wholesale Corporation
   Reliance, Eagleton Institute of Politics,         Coty, Inc.
   Rutgers University                                Crane Co.
 National Center for State Courts                    CVS Health Corporation
 National Council, McLean Hospital                   CVS Pharmacy, Inc.
 New Jersey Civil Justice Institute                  Cyprus Amax Minerals Company
 One Mind                                            Cyprus Mines Corporation
                                                     Dana Companies, LLC
 Depository and Disbursement Banks                   DAP Products, Inc.
                                                     Dollar General Corporation
 Bank of America, N.A.                               Duane Reade Inc.


                                               -7-
Case 21-30589-MBK      Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01        Desc Main
                              Document    Page 51 of 84



 Eaton Corporation                             Shulton, Inc.
 Eli Lilly and Company                         Specialty Minerals Inc.
 Elizabeth Arden, Inc.                         Target Corporation
 Estee Lauder Inc.                             The Dow Chemical Company
 Family Dollar Stores Inc.                     The Estee Lauder Companies, Inc.
 Flowserve US, Inc.                            The Kroger Co.
 FMC Corporation                               The Procter & Gamble Company
 Food 4 Less of California, Inc.               Thrifty Payless, Inc.
 Ford Motor Company                            Unilever Home & Personal Care USA
 Foster Wheeler, LLC                           Union Carbide Corporation
 Gardner Denver, Inc.                          Vanderbilt Minerals, LLC
 General Electric Company                      ViacomCBS, Inc.
 Genuine Parts Company                         Walgreen Co.
 Goodyear Tire & Rubber Co.                    Walmart, Inc.
 Goulds Pumps, LLC                             Warren Pumps, LLC
 Grinnell LLC                                  Whittaker Clark & Daniels, Inc.
 Honeywell International, Inc.                 Wyeth Holdings LLC
 Imerys Talc America, Inc.                     Yves Saint Laurent America, Inc.
 Imerys USA, Inc.
 IMO Industries Inc.                           Debtors' Retained Professionals and
 John Crane, Inc.                              Claims Agent
 K&B Louisiana Corporation
 Kaiser Gypsum Company, Inc.                   AlixPartners LLP
 Kmart Corporation                             Bates White LLC
 Kolmar Laboratories                           Epiq Corporate Restructuring LLC
 Longs Drug Stores California                  Jones Day
 L'Oreal USA, Inc.                             King & Spalding LLP
 Lucky Stores, Inc.                            McCarter & English, LLP
 Macy's, Inc.                                  Rayburn Cooper & Durham, P.A.
 Mary Kay Inc.                                 Shook, Hardy & Bacon L.L.P.
 Maybelline LLC                                Weil Gotshal & Manges LLP
 Metropolitan Life Insurance Company
 Noxell Corporation                            Debtors' Significant Ordinary Course
 Personal Care Products Council                Professionals, Consultants, and Service
 Pfizer, Inc.                                  Providers
 Pharma Tech Industries, Inc.
 Pneumo Abex, LLC                              Adler Pollock & Sheehan PC
 PTI Royston, LLC                              Bailey Glasser LLP
 Publix Super Markets, Inc.                    Barnes & Thornburg, LLP
 R.T. Vanderbilt Holding Company, Inc.         Barrasso Usdin Kupperman
 Ralphs Grocery Company                           Freeman & Sarver, L.L.C.
 Revlon Consumer Products Corporation          Blake, Cassels & Graydon LLP
 Revlon, Inc.                                  Blank Rome LLP
 Rite Aid Corporation                          Brown Greer PLC
 Safeway, Inc.                                 Butler Snow LLP
 Sanofi-Aventis U.S. LLC                       Carlton Fields, P.A.



                                         -8-
Case 21-30589-MBK     Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01             Desc Main
                             Document    Page 52 of 84



 Chehardy, Sherman, Williams,                    Known Professionals for Certain
    Recile, & Hayes                              Non-Debtor Parties in Interest
 Covington & Burling LLP
 Damon Key Leong Kupchak Hastert                 Cravath, Swaine & Moore
 Davis Hatley Haffeman & Tighe                   White & Case LLP
 Dechert LLP
 Elliott Law Offices, PA                         Material Potentially Indemnified Parties
 Faegre Drinker Biddle & Reath LLP
 Foliart, Huff, Ottaway & Bottom                 Bausch Health Companies Inc.
 Gibson, Dunn & Crutcher LLP                     Cyprus Mines Corporation
 Goldman Ismail Tomaselli Brennan &              Cyprus Talc Corp.
     Baum                                        Imerys Talc America, Inc.
 Hartline Barger                                 Imerys Talc Vermont, Inc.
 HeplerBroom LLC                                 Luzenac America, Inc.
 Irwin Fritchie Urquhart & Moore LLC             Pharma Tech Industries, Inc.
 Johnson & Bell Ltd.                             PTI Royston, LLC
 Jones, Skelton & Hochuli, P.L.C.                Rio Tinto America, Inc.
 Kaplan, Johnson, Abate & Bird LLP               RTZ America, Inc.
 Kelley Jasons McGowan Spinelli                  Valeant Pharmaceuticals International, Inc.
    Hanna & Reber, LLP                           Windsor Minerals Inc.
 Kirkland & Ellis LLP                            Costco Wholesale Corporation
 Kitch Drutchas Wagner                           Publix Super Markets, Inc.
    Valitutti & Sherbrook                        Rite Aid Corporation
 Lewis Brisbois Bisgaard & Smith, LLP            Safeway Inc.
 Manion Gaynor & Manning LLP                     Walmart Inc.
 Miles & Stockbridge
 Milligan & Herns                                Law Firms with Significant
 Morgan Lewis                                    Representations of Talc Claimants
 Nelson Mullins Riley & Scarborough, LLP
 Nutter McClennen & Fish LLP                     Arnold & Itkin LLP
 Orrick, Herrington, & Sutcliffe, LLP            Ashcraft & Gerel, LLP
 Patterson Belknap Webb & Tyler LLP              Aylstock, Witkin, Kreis & Overholtz, PLLC
 Proskauer Rose LLP                              Barnes Firm
 Quattlebaum, Grooms & Tull PLLC                 Beasley Allen Law Firm
 Schnader Harrison Segal & Lewis                 Cellino Law LLP
 Schwabe Williamson & Wyatt                      Dalimonte Rueb Stoller, LLP
 Sidley Austin LLP                               Dean Omar Branham Shirley, LLP
 Skadden, Arps, Slate, Meager & Flom LLP         Driscoll Firm, LLC
 Stoel Rives LLP                                 Fears Nachawati Law Firm
 Sullivan Whitehead & Deluca LLP                 Ferraro Law Firm
 Swartz Campbell LLC                             Flint Law Firm LLC
 The Weinhardt Law Firm                          Golomb Spirit Grunfeld, P.C.
 Tucker Ellis LLP                                Honik LLC
 Willcox & Savage, P.C.                          Johnson Law Group
                                                 Karst & von Oiste LLP
                                                 Kazan, McClain, Satterly
                                                    & Greenwood PLC


                                           -9-
Case 21-30589-MBK       Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01           Desc Main
                               Document    Page 53 of 84



 Lanier Law Firm                                   Allianz Global Risks US Insurance
 Levy Konigsberg LLP                                  Company
 Maune Raichle Hartley French &                    Allstate Insurance Company
   Mudd, LLC                                       American Centennial Ins. Company
 Miller Firm, LLC                                  American Motorists Ins. Company
 Motley Rice LLC                                   American Re-Insurance Company
 Napoli Shkolnik PLLC                              Arrowood Indemnity Company
 OnderLaw, LLC                                     ASR Schadeverzekering N.V.
 Simmons Hanly Conroy LLC                          Assurances Generales De France
 Simon Greenstone Panatiere                        Assurantiekantoor VanWijk & Co.
    Bartlett, PC                                   Atlanta International Insurance Company
 The Gori Law Firm                                 Birmingham Fire Ins. Company of
 Trammell PC                                          Pennsylvania
 Weitz & Luxenberg, P.C.                           Central National Ins. Company of Omaha
 Williams Hart Law Firm                            Century Indemnity Company
                                                   Champion Dyeing Allocation Year
 Key Parties in Imerys Talc America, Inc.          Chubb
 and Cyprus Mines Corp. Chapter 11 Cases           City Ins. Company
                                                   Colonia Versicherungs AG, Koln
 Cyprus Amax Minerals Company                      Continental Insurance Company
 Cyprus Mines Corporation                          Darag Deutsche Versicherungs-Und
 Cyprus Talc Corporation                              Rückversicherungs-AG
 Imerys S.A.                                       Drake Ins. Company of New York
 Imerys Talc America, Inc.                         Employers Ins. Company of Wausau
 Imerys Talc Vermont, Inc.                         Employers Ins. of Wausau
    (fka Windsor Minerals Inc.)                    Employers Mutual Casualty Company
 James L. Patton                                   Eurinco Allgemeine
 Luzenac America, Inc.                                Versicherungs AG, Dusseldorf
 Official Committee of Tort Claimants              Everest Reinsurance Company
    (In re Imerys Talc America, Inc.)              Fireman's Fund Ins. Company
 Official Committee of Tort Claimants              First State Ins. Company
    (In re Cyprus Mines Corp.)                     GAP
 Roger Frankel                                     Gibraltar Casualty Company
                                                   Granite State Ins. Company
 Debtor's Insurers                                 Great American
                                                   Great Northern Ins. Company
 A.G. Securitas                                    Great Southwest Fire Ins. Company
 ACE Property & Casualty Insurance                 Groupe Drouot
    Company                                        Harbor Ins. Company
 Aetna Casualty and Surety Company                 Hartford Accident and Indemnity Company
 Affiliated FM Ins. Company                        Home Ins. Company
 AIG Europe S.A.                                   Ideal Mutual Ins. Company
 AIG Property and Casualty Company                 Industrial Indemnity Company
 AIU Ins. Company                                  Ins. Company of North America
 Allianz Ins. Company                              Ins. Company of the State of Pennsylvania
                                                   Ins. Corporation of Singapore Limited



                                            -10-
Case 21-30589-MBK       Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01          Desc Main
                               Document    Page 54 of 84



 Integrity Ins. Company                            Safety National Casualty Corporation
 International Ins. Company                        Seguros La Republica SA
 International Surplus Lines Ins. Company          Sentry Insurance A Mutual Company
 Lexington Ins. Company                            Southern American Ins. Company
 London Guarantee and Accident                     Starr Indemnity & Liability Company
     Company of N.Y.                               TIG Insurance Company
 L'Union Atlantique S.A. d'Assurances              Transamerica Premier Insurance Company
 Mead Reinsurance Corporation                      Transit Casualty Company
 Middlesex Assurance Company                       Travelers Casualty and Surety Company
 Midland Ins. Company                              UAP
 Midstates Reinsurance Corp.                       Union Atlantique d'Assurances S.A.
 Mission Ins. Company                              Union Indemnity Ins. Company
 Mission National Ins. Company                        of New York
 Munich Reinsurance America, Inc.                  Westchester Fire Insurance Company
 Mutual Fire, Marine, & Inland Ins.                Westport Insurance Corporation
     Company                                       XL Ins. Company
 N.V. De Ark
 N.V. Rotterdamse Assurantiekas                    Employees of the Bankruptcy
 N.V. Schadeverzekeringsmaatschappij               Administrator's Office for the Western
     Maas Lloyd                                    District of North Carolina
 National Casualty Company
 National Union Fire Ins. Company of               Alexandria Kenny
     Pittsburgh, PA                                Anne Whitley
 Nationwide                                        David Shepherd
 New Hampshire Ins. Company                        Katrina Adams
 North River Ins. Company                          Sarah Scholz
 Northbrook Excess and Surplus                     Shelley K. Abel
    Ins. Company
 Northeastern Fire Ins. Company                    Bankruptcy Judges for the Western
     of Pennsylvania                               District of North Carolina
 Pacific Employers Ins. Company
 ProSight                                          Judge George Hodges
 Prudential Reinsurance Company                    Judge J. Craig Whitley
 Puritan Insurance Company                         Judge Laura T. Beyer
 Republic Indemnity Company of America
 Republic Ins. Company
 Republic Western Ins. Company
 Repwest Insurance Company
 Resolute Management Inc.
 Rheinland Versicherungen
 Rheinland Verzekeringen
 Riverstone Insurers
 Royal Belge I.R., S.A. d'Assurances
 Royal Indemnity Company
 Royal Ins. Company
 Safety Mutual Casualty Corporation



                                            -11-
Case 21-30589-MBK            Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                               Desc Main
                                    Document    Page 55 of 84



 Bankruptcy Rule 2002 Appearances1                              Cyprus Mines Corporation
                                                                Gloria Davis
 AIG Europe S.A. (as successor in interest to                   Dawn Dispensa
     Union Atlantique d’Assurances S.A)                         Patricia Dunbar
 AIG Property Casualty Company (f/k/a                           Fears Nachawati PLLC
     Birmingham Fire Insurance Company of                       Ann Frye-Moragne
     Pennsylvania)                                              Debra Fugiel
 AIU Insurance Company                                          Victoria Gomes
 Wanda Allen                                                    Granite State Insurance Company
 Allstate Insurance Company, as successor in                    Andrea Harris
     interest to Northbrook Excess & Surplus                    Charlette Hein
     Insurance Company, formerly                                Tabitha Henry
     Northbrook Insurance Company                               Christine Hodge
 Atlanta International Insurance Company (as                    Darlene Holland
     successor in interest to Drake Insurance                   Imerys Talc America, Inc.
     Company)                                                   Imerys Talc Canada Inc.
 Arnold & Itkin LLP                                             Imerys Talc Vermont, Inc.
 ASR Schadeverzekering N.V. (as successor                       The Insurance Company of the State of
     in interest to Assurantiekoor Van Wijk                         Pennsylvania
     & Co.)                                                     Johnson & Johnson
 Aylstock, Witkin, Kreis & Overholtz, PLLC                      Johnson & Johnson Consumer Inc.
 Barnes Law Group                                               Voncile Jones
 Bausch Health Americas, Inc. f/k/a Valeant                     Amanda Joyce
    Pharmaceuticals International                               Kazan, McClain, Satterley &
 Bausch Health Companies Inc. f/k/a Valeant                        Greenwood, PLLC
    Pharmaceuticals International, Inc.                         Shelly King
 Bausch Health US, LLC f/k/a Valeant                            Mildred Kirk-Brown
    Pharmaceuticals North America LLC                           Julie Lamore
 Bestwall LLC                                                   Susan Leach
 Blue Cross Blue Shield Association                             Mary Leinen
 Blue Cross Blue Shield of Massachusetts,                       Levy Konigsberg LLP
    Inc                                                         Lexington Insurance Company
 Edna Brown                                                     Jo Ellen Luster
 Barbara Busch                                                  Nancy Lyman
 Beatriz Cabeza                                                 Massey & Gail LLP
 Monica Cambron                                                 Bernadette McGinnis
 Tarshwa Carter                                                 Pamela Morrill
 Bridget Coates                                                 National Union Fire Insurance Company of
 Cohen, Placitella & Roth P.C.                                      Pittsburgh, Pa.
 Lillian Cohn-Sharon                                            New Hampshire Insurance Company
 The Continental Insurance Company                              The North River Insurance Company
 Elaine Cook                                                    N.V. Schadeverzekeringsmaatschappij Maas
 Cyprus Amax Minerals Company                                       Lloyd (individually and as successor in
 1
        Where a Bankruptcy Rule 2002 appearance was filed by counsel on behalf of clients, the clients have been
        listed herein to the extent identified and where certain clients have not been identified, the filing counsel is
        listed, to the extent not otherwise listed herein.



                                                         -12-
Case 21-30589-MBK         Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01   Desc Main
                                 Document    Page 56 of 84



     interest to policies subscribed in favor of
     Johnson & Johnson by N.V.
     Rotterdamse Assurantiekas, n/k/a De
     Ark)
 Kathleen O’Halloran
 Lisa O’Neal
 OnderLaw, LLC
 The Plaintiffs Steering Committee in the In
     re: Johnson & Johnson Talcum Powder
     Products Marketing, Sales Practices and
     Precuts Liability Multi-District
     Litigation
 RheinLand Versicherungen (as successor in
     interest only to the subscriptions of the
     former Dutch company Rheinland
     Verzekeringen)
 Rio Tinto America Inc.
 Cora Robinson
 Robinson Calcagnie, Inc.
 Lisa Sabatine
 Maraldine Schmidt
 Valerie Schultz
 Isabel Spano
 Starr Indemnity & Liability Company (as
     successor in interest to Republic
     Insurance Company)
 State of Texas, Attorney General of Texas
 Three Crowns Insurance Company
 Christine Torres
 Travelers Casualty and Surety Company
     (f/k/a The Aetna Casualty and Surety
     Company)
 May Virata
 Waldrep Wall Babcock & Bailey PLLC
 Westchester Fire Insurance Company
 Sharon Wildman
 Oshunna Williams




                                                   -13-
Case 21-30589-MBK   Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01   Desc Main
                           Document    Page 57 of 84



                                 SCHEDULE 2

                               Disclosure Schedule




 NAI-1522055035
  Case 21-30589-MBK              Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                                Desc Main
                                        Document    Page 58 of 84


                                                       SCHEDULE 2

                                              LTL MANAGEMENT LLC

                SCHEDULE OF INTERESTED PARTIES THAT CURRENTLY EMPLOY
                   OR HAVE FORMERLY EMPLOYED JONES DAY IN MATTERS
                    UNRELATED TO THE DEBTOR OR ITS CHAPTER 11 CASE

                                              RELATIONSHIP
        INTERESTED PARTY                         TO THE                        CLIENTS AND THEIR AFFILIATES
                                                DEBTOR

  PARTIES IN INTEREST (OR AFFILIATED ENTITIES) WHO ARE CURRENT CLIENTS OR WERE
                        CLIENTS WITHIN THE LAST TWO YEARS1

3M Company                                Significant Co-Defendants        •   Affiliate company 3M Media Company,
                                          in Talc-Related Litigation           LLC is now known as current client Range
                                                                               Media Partners LLC; and
                                                                           •   Affiliate companies 3M France and 3M
                                                                               Bricolage & Bâtiment are former clients
                                                                               (both closed 2020).

A. O. Smith Corporation                   Significant Co-Defendants        •   A. O. Smith Corporation is a current
                                          in Talc-Related Litigation           client.

Abbott Medical Optics Private             Other Non-Debtor                 •   Parent company Abbott Laboratories is:
   Limited (n/k/a Johnson &               Affiliates                           (a) a current client; (b) a co-defendant and
   Johnson Surgical Vision India                                               indemnitee in a current matter with current
   Private Limited                                                             client AbbVie, Inc.; and (c) a joint venture
AMO Ireland                                                                    partner with current client SPD Swiss
                                                                               Precision Diagnostics GmbH in a matter
AMO Ireland Finance Unlimited
                                                                               closed in 2021;
   Company
                                                                           •   Affiliate companies Abbott Vascular, Inc.,
                                                                               Abbott Cardiovascular Systems, Inc.,
                                                                               Abbott Logistics B.V. and Abbott B.V. are
                                                                               current clients;




    1
            The parties listed herein are parties in interest (or affiliated entities) who are current clients of Jones Day or
            were clients of Jones Day within the last two years. The names of current clients of Jones Day appear in
            bold and italics. The disclosure of stockholder interests or other affiliate relationships among potentially
            related entities reflects only information known to Jones Day through its conflict reporting system. Jones
            Day has not performed independent research to identify all stockholder interests or other affiliate
            relationships with respect to interested parties. Moreover, Jones Day has not disclosed representations of
            trade associations and similar industry or special interest organizations in which interested parties are
            members.
  Case 21-30589-MBK             Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                      Desc Main
                                       Document    Page 59 of 84



                                         RELATIONSHIP
     INTERESTED PARTY                       TO THE                     CLIENTS AND THEIR AFFILIATES
                                           DEBTOR

                                                                   •   Affiliate company Abbott Medical Optics,
                                                                       Inc. is a current client in a matter with
                                                                       current client Johnson & Johnson; and
                                                                   •   Affiliate companies Abbott Laboratories
                                                                       (closed 2019), Abbott Healthcare Pvt. Ltd.
                                                                       and Abbott Diabetes Care
                                                                       (both closed 2020) are former clients.

Actelion Ltd.                         Other Non-Debtor             •   Parent company Johnson & Johnson is a
Actelion Manufacturing GmbH           Affiliates                       current client; and
Actelion Pharmaceuticals Australia
    Pty. Limited                                                   •   Affiliate companies Actelion
Actelion Pharmaceuticals Korea Ltd.                                    Pharmaceuticals Shanghai Co., Ltd.,
Actelion Pharmaceuticals Ltd                                           Actelion Pharmaceuticals Trading
Actelion Pharmaceuticals Mexico                                        (Shanghai) Co., Ltd., Actelion
    S.A. De C.V.                                                       Parmaceuticals Ltd. and Actelion
Actelion Pharmaceuticals Trading                                       Pharmaceuticals México, S.A. de C.V. are
    (Shanghai) Co., Ltd.                                               former clients (all closed 2020).
Actelion Pharmaceuticals UK                                        •   See also entry below for Johnson &
    Limited                                                            Johnson, et al. regarding related
Actelion Pharmaceuticals US, Inc.                                      disclosure.
Actelion Registration Limited
Actelion Treasury Unlimited
    Company

Adler Pollock & Sheehan, P.C.         Debtors’ Significant         •   Adler Pollack & Sheehan, P.C is the:
                                      Ordinary Course                  general partner of two individuals, one a
                                      Professionals,                   current shareholder and one a former
                                      Consultants, and Service         shareholder of the firm, who are current
                                      Providers                        clients.

Aetna Casualty and Surety Company     Debtor’s Insurers            •   Parent company Aetna, Inc. is a former
                                                                       client (closed 2020).

Albertsons Companies LLC              Significant Co-Defendants    •   Parent company Albertsons Companies,
                                      in Talc-Related Litigation       Inc. is: (a) a current client; and (b) the
                                                                       parent company of current client Shaw’s
                                                                       Supermarkets, Inc.; and
                                                                   •   Affiliate companies Albertsons LLC,
                                                                       Albertsons OSCO Pharmacy and
                                                                       Albertsons Sav-on Pharmacy are former
                                                                       clients (all closed 2020).
                                                                   •   See also entry below for affiliate company
                                                                       Safeway, Inc.




                                                          2
  Case 21-30589-MBK           Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                 Desc Main
                                     Document    Page 60 of 84



                                       RELATIONSHIP
     INTERESTED PARTY                     TO THE                CLIENTS AND THEIR AFFILIATES
                                         DEBTOR

Allianz Global Risks US Insurance   Debtor’s Insurers       •   Parent company Allianz S.E. is a joint
    Company                                                     venture owner of former client Chapter
                                                                Master Unit Trust (closed 2020);
Allianz Insurance Company
                                                            •   Affiliated entities Allianz Private Credit
                                                                Fund S.A. SICAV-RAIF, Allianz Global
                                                                Investors GmbH and France Titrisation
                                                                Allianz FCT Mid Cap Loans are co-clients
                                                                in a current matter with current client BNP
                                                                Paribas;
                                                            •   Affiliate company Pacific Investment
                                                                Management Company LLC (PIMCO) is:
                                                                (a) a current client; and (b) a member of a
                                                                current ad hoc group representation of
                                                                Intelsat Jackson unsecured noteholders;
                                                                and (c) a member of a current hoc group
                                                                representation of Envision term loan
                                                                lenders;
                                                            •   Allianz Real Estate Investment S.A. is a
                                                                shareholder of Chapter L.P., a co-client in
                                                                a current matter with current client
                                                                Greystar Real Estate Partners, LLC;
                                                            •   Affiliate company AGF Private Equity is a
                                                                stockholder of current client Integragen;
                                                            •   Affiliated entities Allianz Innovation 7 and
                                                                Allianz Eco Innovation 2 are stockholders
                                                                of current client Eurazeo Investment
                                                                Manager – EIM S.A.; and
                                                            •   Affiliate company Allianz Deutscher
                                                                Produzenten Film & Fernsehen e.V . is a
                                                                former client (closed 2021).

Allstate Insurance Company          Debtor’s Insurers       •   Affiliate company Allstate Investments is a
                                                                member of a current ad hoc group
Allstate Insurance Company, as      Bankruptcy Rule 2002        representation of Envision term loan
    successor in interest to        Appearances                 lenders.
    Northbrook Excess & Surplus
    Insurance Company, formerly
    Northbrook Insurance Company




                                                        3
  Case 21-30589-MBK               Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                      Desc Main
                                         Document    Page 61 of 84



                                          RELATIONSHIP
      INTERESTED PARTY                       TO THE                     CLIENTS AND THEIR AFFILIATES
                                            DEBTOR

American Centennial Ins. Company,      Debtor’s Insurers            •   Affiliate companies Energy West Mining
   n/k/a Berkshire Hathaway Direct                                      Company, The Lubrizol Corporation and
   Insurance Company                                                    Johns Manville Corporation are current
                                                                        clients;
Whittaker Clark & Daniels, Inc.        Significant Co-Defendants
                                       in Talc-Related Litigation   •   Affiliate company BNSF Railway
                                                                        Company is: (a) a current client;
                                                                        (b) a client in a current matter with current
                                                                        client California Railroad Group; and
                                                                        (c) a member of former client National
                                                                        Rail Group (closed 2020); and
                                                                    •   Affiliate company Scott & Fetzer
                                                                        Company is a former client (closed 2021).

Assurances Generales De France         Debtor’s Insurers            •   Affiliated entity AGF Floating Rate
                                                                        Income Fund is: (a) a member of a current
                                                                        ad hoc group representation of Envision
                                                                        term loan lenders; (b) a member of former
                                                                        clients TRU PropCo I Term Lenders
                                                                        (closed 2019); and Monitronics Term
                                                                        Lender Group (closed 2020); and
                                                                    •   Affiliated entity AGF Private Equity is a
                                                                        stockholder of current client Integragen.

Atlanta International Insurance        Debtor’s Insurers            •   Affiliate company Townsend Holdings
    Company                                                             LLC; and

Atlanta International Insurance        Bankruptcy Rule 2002         •   Affiliate company Aon Public Limited
    Company (as successor in           Appearances                      Company is the ultimate parent company
    interest to Drake Insurance                                         of former client Premier Auto Finance, Inc.
    Company)                                                            (closed 2020).

Avon Products, Inc.                    Significant Co-Defendants    •   Ultimate parent company Natura
                                       in Talc-Related Litigation       Cosmeticos S.A.; and affiliate company
                                                                        Natura International, and two of its
                                                                        stockholders, Natura (Brasil) International
                                                                        B.V. and Natura Brasil, Inc., are former
                                                                        clients (all closed 2019).




                                                           4
  Case 21-30589-MBK     Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01             Desc Main
                               Document    Page 62 of 84



                                RELATIONSHIP
     INTERESTED PARTY              TO THE             CLIENTS AND THEIR AFFILIATES
                                  DEBTOR

Bank of America, N.A.        Depository and       •   Bank of America, N.A. is a current client;
                             Disbursement Banks
                                                  •   Parent company Bank of America
                                                      Corporation is the employer of an
                                                      individual who is a former client
                                                      (closed 2019);
                                                  •   Affiliate companies Bank of America
                                                      Business Credit, Bank of America, N.A.
                                                      London, Bank of America Merrill Lynch
                                                      International DAC – Milan Branch,
                                                      Merrill Lynch Kingdom of Saudi Arabia
                                                      Ltd. and Merrill Lynch International are
                                                      current clients;
                                                  •   Affiliate company Bank of America
                                                      Merrill Lynch is the former employer and
                                                      indemnitor for an individual who is a
                                                      former client (closed 2020);
                                                  •   Affiliate company Bank of America
                                                      Merrill Lynch International Designated
                                                      Activity Company is: (a) a current client;
                                                      (b) a former client with current client
                                                      Natixis in two matters closed in 2020 and
                                                      2021, respectively; and (c) a former client
                                                      with current client Deutsche Bank AG
                                                      New York in a matter closed in 2020;
                                                  •   Affiliate company Banc of America
                                                      Strategic Investments Corporation is a joint
                                                      venture partner in current client Visible
                                                      Alpha LLC;
                                                  •   Affiliate company Bank of America
                                                      Securities, Inc. is a client in a current
                                                      matter with current client Deutsche Bank
                                                      AG New York; and
                                                  •   Affiliate companies Merrill Lynch, Pierce,
                                                      Fenner & Smith Incorporated, Merrill
                                                      Lynch Bank & Trust (Cayman) Limited
                                                      and Merrill Lynch International, London
                                                      Branch are former clients (all closed 2020).




                                             5
  Case 21-30589-MBK        Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                     Desc Main
                                  Document    Page 63 of 84



                                   RELATIONSHIP
     INTERESTED PARTY                 TO THE                     CLIENTS AND THEIR AFFILIATES
                                     DEBTOR

Bestwall LLC                    Bankruptcy Rule 2002         •   Bestwall LLC and affiliate companies
                                Appearances                      Koch Companies Public Sector LLC,
                                                                 Koch-Glitsch Italia S.r.l., Koch Chemicals
                                                                 Technology Group Italia S.r.l., Koch
                                                                 Treasury, Koch Real Estate Investments,
                                                                 Koch Strategic Platforms, Koch
                                                                 Technology Solutions, LLC, Koch
                                                                 Technology Solutions UK Limited, Koch
                                                                 Financial Assets III, LLC, Koch
                                                                 Agronomic Services, Koch Chemical
                                                                 Technology Group S.L., Koch Disruptive
                                                                 Technologies, Koch Minerals and Koch
                                                                 Equity Development are current clients;
                                                             •   Parent company Koch Industries, Inc. is:
                                                                 (a) a current client; (b) the ultimate parent
                                                                 company of current client Georgia-Pacific,
                                                                 LLC; (c) a joint venture owner of current
                                                                 client Flint Group GmbH; (d) the ultimate
                                                                 parent company of former client Infor, Inc.
                                                                 (closed 2021); (e) an equity holder of
                                                                 former client Truck-Lite Co., LLC
                                                                 (closed 2020); and (f) a stockholder of
                                                                 current client Global Medical Response,
                                                                 Inc.; and
                                                             •   Affiliate companies Koch Ag & Energy
                                                                 Solutions, LLC and Koch Metals Trading
                                                                 Limited (both closed 2019); Koch Supply
                                                                 & Trading LLC, Koch Biological Solutions
                                                                 LLC and Koch Fertilizer LLC
                                                                 (all closed 2020); and Koch Shipping PTE
                                                                 Ltd. (closed 2021) are former clients.

Block Drug Company, Inc.        Significant Co-Defendants    •   Affiliate company GlycoVaxyn AG is a
                                in Talc-Related Litigation       current client.




                                                  6
  Case 21-30589-MBK           Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                         Desc Main
                                     Document    Page 64 of 84



                                        RELATIONSHIP
     INTERESTED PARTY                      TO THE                     CLIENTS AND THEIR AFFILIATES
                                          DEBTOR

Blue Cross Blue Shield Association   Bankruptcy Rule 2002         •   Affiliated entities Blue Cross Blue Shield
                                     Appearances                      of Massachusetts and Blue Cross and
                                                                      Blue Shield of Massachusetts HMO Blue,
                                                                      Inc. (BCBSMA) are current clients;
                                                                  •   Affiliated entity Blue Cross Blue Shield of
                                                                      Michigan is: (a) a current client; and
                                                                      (b) the parent company of former clients
                                                                      Tessellate LLC and Blue Care Network of
                                                                      Michigan (both closed 2019);
                                                                  •   Blue Cross Blue Shield of Florida, Inc. is a
                                                                      subsidiary of GuideWell Mutual Holding
                                                                      Corporation, an affiliated entity of former
                                                                      client Special Committee of the Board of
                                                                      Directors of GuideWell Mutual Holding
                                                                      Corporation (closed 2020); and
                                                                  •   Affiliated entity Blue Cross Blue Shield of
                                                                      Minnesota is a member of a former group
                                                                      representation of Monotronics term lenders
                                                                      (closed 2020).

Borg Warner Morse Tec, Inc.          Significant Co-Defendants    •   An individual who is an officer of affiliate
                                     in Talc-Related Litigation       company Borg Warner Morse TEC LLC, is
                                                                      a current client; and
                                                                  •   Affiliate company BorgWarner, Inc. is a
                                                                      former client (closed 2021).

Bristol-Myers Squibb Company         Significant Co-Defendants    •   Bristol-Myers Squibb Company is:
                                     in Talc-Related Litigation       (a) a current client; and (b) a client in a
                                                                      joint representation with current client
                                                                      Otsuka Pharmaceutical Co., Ltd.;
                                                                  •   Affiliate company Celgene Corporation is:
                                                                      (a) a current client; and (b) the former
                                                                      employer of an individual who is a current
                                                                      client; and
                                                                  •   Affiliate company Signal
                                                                      Pharmaceuticals, LLC is a current client.

C Consumer Products Denmark          Other Non-Debtor             •   Parent Coloplast A/S and affiliate
   ApS, n/k/a Coloplast              Affiliates                       companies Coloplast Hungary Kft and
   Konsumerntvarer A/S                                                Laboratoires Coloplast SASU are current
                                                                      clients.




                                                        7
  Case 21-30589-MBK            Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                    Desc Main
                                      Document    Page 65 of 84



                                       RELATIONSHIP
     INTERESTED PARTY                     TO THE                     CLIENTS AND THEIR AFFILIATES
                                         DEBTOR

Carrier Corporation                 Significant Co-Defendants    •   Affiliate companies Carrier Enterprise
                                    in Talc-Related Litigation       México, S. de R.L. de C.V. (closed 2019)
                                                                     and Carrier Global Corporation
                                                                     (closed 2020) are former clients.

Chattem, Inc.                       Significant Co-Defendants    •   Parent company Sanofi is a current client.
                                    in Talc-Related Litigation
                                                                 •   See also entry below for Sanofi Aventis
                                                                     U.S. LLC regarding related disclosure.

Costco Wholesale Corporation        Significant Co-Defendants    •   Costco Wholesale Corporation is a former
                                    in Talc-Related Litigation       client (closed 2019).

CVS Health Corporation              Significant Co-Defendants    •   CVS Health Corporation is a former client
CVS Pharmacy, Inc.                  in Talc-Related Litigation       (closed 2019).

DAP Products, Inc.                  Significant Co-Defendants    •   Parent company RPM International, Inc.
                                    in Talc-Related Litigation       is a current client.

DePuy France                        Other Non-Debtor             •   Parent company Johnson & Johnson is a
DePuy Hellas SA                     Affiliates                       current client; and non-debtor affiliates
DePuy International Limited                                          DePuy Spine, Inc., DePuy Orthopaedics,
DePuy Ireland Unlimited Company                                      Inc., DePuy Synthes Products, Inc.,
DePuy Mexico, S.A. de C.V.                                           DePuy Sales, Inc. and DePuy Synthes,
DePuy Mitek, LLC                                                     Inc. are current clients.
DePuy Orthopaedics, Inc.
DePuy Products, Inc.                                             •   See also entry below for Johnson &
DePuy Spine, LLC                                                     Johnson, et al. regarding related
DePuy Synthes Gorgan Limited                                         disclosure.
DePuy Synthes Institute, LLC
DePuy Synthes Leto SARL
DePuy Synthes Products, Inc.
DePuy Synthes Sales, Inc.
DePuy Synthes, Inc.

Dollar General Corporation          Significant Co-Defendants    •   Family Dollar Stores, Inc. is a current
Family Dollar Stores Inc.           in Talc-Related Litigation       client.




                                                       8
  Case 21-30589-MBK          Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                      Desc Main
                                    Document    Page 66 of 84



                                      RELATIONSHIP
     INTERESTED PARTY                    TO THE                     CLIENTS AND THEIR AFFILIATES
                                        DEBTOR

The Dow Chemical Corporation       Significant Co-Defendants    •   The Dow Chemical Corporation is:
                                   in Talc-Related Litigation       (a) a current client; and (b) a co-owner of
Union Carbide Corporation
                                                                    current client Sadara Chemical Company;
                                                                •   Affiliate companies Dow AgroSciences
                                                                    LLC and Dow Química Méxicana, S.A. de
                                                                    C.V. are current clients; and
                                                                •   Affiliate companies Union Carbide
                                                                    Corporation and Dow Silicones
                                                                    Corporation are former clients
                                                                    (both closed 2020).

Duane Reade, Inc.                  Significant Co-Defendants    •   Duane Reade, Inc. is a former client
                                   in Talc-Related Litigation       (closed 2019).

Eaton Corporation                  Significant Co-Defendants    •   Eaton Corporation is a current client; and
                                   in Talc-Related Litigation
                                                                •   Affiliated entity Eaton Corporation Master
                                                                    Retirement Trust is a member of a former
                                                                    group representation of Preferred Proppants
                                                                    term lenders (closed 2019).


Elizabeth Arden, Inc.              Significant Co-Defendants    •   Elizabeth Arden, Inc. Revlon Consumer
Revlon Consumer Products           in Talc-Related Litigation       Products Corporation, Revlon, Inc.; and
    Corporation                                                     affiliate companies NCH Marketing
                                                                    Services, Inc., Scientific Games
Revlon, Inc.
                                                                    Corporation and Revlon (Puerto Rico),
                                                                    Inc. are current clients; and
                                                                •   Affiliate company AM General LLC is a
                                                                    former client (closed 2020).

Estee Lauder, Inc.                 Significant Co-Defendants    •   Estee Lauder, Inc. is a current client.
The Estee Lauder Companies, Inc.   in Talc-Related Litigation




                                                     9
  Case 21-30589-MBK               Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                     Desc Main
                                         Document    Page 67 of 84



                                          RELATIONSHIP
      INTERESTED PARTY                       TO THE                     CLIENTS AND THEIR AFFILIATES
                                            DEBTOR

Ethicon, Inc.                          Other Non-Debtor             •   Non-Debtor Affiliate Ethicon, Inc. is a
Ethicon Biosurgery Ireland             Affiliates                       current client.
Ethicon Endo-Surgery (Europe)
GmbH                                                                •   See also entry below for NeuWave
Ethicon Endo-Surgery, Inc.                                              Medical, Inc. regarding related disclosure.
Ethicon Endo-Surgery, LLC
Ethicon Holding Sarl
Ethicon Ireland Unlimited Company
Ethicon LLC
Ethicon PR Holdings Unlimited
Company
Ethicon Sarl
Ethicon US, LLC
Ethicon Women's Health & Urology
    S,a.r.l.

Flowserve US, Inc.                     Significant Co-Defendants    •   Parent company Flowserve Corporation
                                       in Talc-Related Litigation       and affiliate companies Flowserve SIHI
                                                                        France SAS, Flowserve FSD SAS,
                                                                        Flowserve Pompes SAS, Flowserve Sales
                                                                        International SAS (SIHI), Flowserve
                                                                        Spain S.L. and Flowserve GB Limited are
                                                                        current clients.

FMC Corporation                        Significant Co-Defendants    •   FMC Corporation and affiliate company
                                       in Talc-Related Litigation       FMC Agro Singapore Pte. Ltd. are former
                                                                        clients (both closed 2021).

Food 4 Less of California, Inc.        Significant Co-Defendants    •   The Kroger Company is the parent
The Kroger Company                     in Talc-Related Litigation       company of Food 4 Less of California, Inc.
                                                                        and a former client (closed 2020).

Ford Motor Company                     Significant Co-Defendants    •   Ford Motor Company is: (a) a current
                                       in Talc-Related Litigation       client; and (b) a shareholder of current
                                                                        client Argo AI LLC;
                                                                    •   Affiliated entity Ford UK – Wheels
                                                                        Common Investment Fund Trustees
                                                                        Limited is a member of a current ad hoc
                                                                        group representation of Envision term
                                                                        lenders; and
                                                                    •   Affiliated company Manhattan Ford
                                                                        Lincoln, Inc. is a former client
                                                                        (closed 2019).




                                                          10
  Case 21-30589-MBK        Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                   Desc Main
                                  Document    Page 68 of 84



                                   RELATIONSHIP
     INTERESTED PARTY                 TO THE                     CLIENTS AND THEIR AFFILIATES
                                     DEBTOR

Foster Wheeler LLC              Significant Co-Defendants    •   Parent company John Wood Group Plc is a
                                in Talc-Related Litigation       former client (closed 2019).

Gardner Denver, Inc.            Significant Co-Defendants    •   Affiliate company Trane Technologies Plc
                                in Talc-Related Litigation       is the parent company of current client
                                                                 Aldrich Pump LLC and Murray Boiler
                                                                 LLC.

General Electric Company        Significant Co-Defendants    •   General Electric Company is: (a) a current
                                in Talc-Related Litigation       client; and (b) a minority shareholder of
                                                                 current client Baker Hughes, Inc. (f/k/a
                                                                 Baker Hughes, a GE Company);
                                                             •   Affiliate companies GE Transportation
                                                                 Parts, LLC, GE Lighting LLC, GE Power,
                                                                 GE Global Operations France SAS, GE
                                                                 Energy Power Conversion UK Limited,
                                                                 GE Power Conversion Naval Systems,
                                                                 Inc., GE Renewable Holding France, GE
                                                                 Energy Parts, Inc., GE Energy Products
                                                                 France SNC, General Electric Ticaret Ve
                                                                 Servis AS, General Electric International,
                                                                 Inc., GE SCF S.C.A., GE Aviation, GE
                                                                 Renewable Management SAS, GE Energy
                                                                 Power Conversion Technology, Ltd., GE
                                                                 Power Controls France (n/k/a ABB
                                                                 Industrial Solutions (France) SAS), GE
                                                                 Water & Process Technologies, GE Hydro
                                                                 France (a/k/a Alstom Hydro France), GE
                                                                 Power Controls Iberica (n/k/a ABB
                                                                 Electrification Solutions SLU), GE Power
                                                                 Controls Polska SP ZOO (n/k/a ABB
                                                                 Industrial Solutions (Klodzko) SP ZOO,
                                                                 GE Energy Power Conversion France
                                                                 SAS are current clients;
                                                             •   Affiliate company GE Lighting, a Savant
                                                                 Company, (a/k/a Consumer Lighting
                                                                 (U.S.) LLC) is a current client;
                                                             •   Affiliate company GE Healthcare is a joint
                                                                 venture partner in and shareholder of
                                                                 current client Nihon Medi-Physics Co.
                                                                 Ltd.;
                                                             •   Affiliate company Employers Reassurance
                                                                 Corporation is a member of a current ad
                                                                 hoc group representation of NGL Energy
                                                                 bondholders;




                                                  11
 Case 21-30589-MBK        Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                      Desc Main
                                 Document    Page 69 of 84



                                    RELATIONSHIP
     INTERESTED PARTY                  TO THE                     CLIENTS AND THEIR AFFILIATES
                                      DEBTOR

                                                              •   Affiliate companies General Electric
                                                                  Pension Trust and GE Capital Corporation
                                                                  are members of a former defense group
                                                                  representation of General Motors term
                                                                  lenders (closed 2020);
                                                              •   Affiliate company GE Ventures Ltd. is an
                                                                  investor in former client Aver, Inc.
                                                                  (closed 2021); and
                                                              •   Affiliate companies GE Oil and Gas
                                                                  Australia Pty Ltd., General Electric Energy
                                                                  UK Limited GE Capital Europe, Ltd. and
                                                                  GE Capital Aviation Services
                                                                  (all closed 2019); GE Power Services
                                                                  Belgium S.A., GE Digital LLC, GE Energy
                                                                  Connections, GE Energy Management, GE
                                                                  Healthcare Limited,, GE Water & Process
                                                                  Technologies France, GE- Hitachi Nuclear
                                                                  Energy Americas LLC, GE Eoliennes SN,
                                                                  GE Medical Systems Italia S.p.A., GE
                                                                  Healthcare Italia S.r.l. and GE Italia
                                                                  Holding S.r.l. (all closed 2020); and GE
                                                                  Japan Corporation, GE Medical Systems
                                                                  Trade & Development (Shanghai) Co.,
                                                                  Ltd., GE Wind France S.A.S., GE Grid
                                                                  Australia Pty Ltd., GE IS&T S.A.S., GE
                                                                  Grid Solutions and GE Medical Systems
                                                                  Information Technologies, Inc.
                                                                  (all closed 2021) are former clients.

Goodyear Tire & Rubber Company   Significant Co-Defendants    •   Goodyear Tire & Rubber Company is:
                                 in Talc-Related Litigation       (a) a current client; and (b) a 50% joint
                                                                  venture partner in former client TireHub,
                                                                  LLC (closed 2021); and
                                                              •   Affiliate companies Goodyear Middle East
                                                                  FZE, Goodyear Services Comerciales,
                                                                  S. de R.L. de C.V., Goodyear SLP, S. de
                                                                  R.L. de C.V. and Cooper Tire & Rubber
                                                                  Company; and affiliated entity Board of
                                                                  Directors of Goodyear Tire & Rubber
                                                                  Company are current clients.




                                                   12
  Case 21-30589-MBK           Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                       Desc Main
                                     Document    Page 70 of 84



                                        RELATIONSHIP
     INTERESTED PARTY                      TO THE                     CLIENTS AND THEIR AFFILIATES
                                          DEBTOR

Groupe Drouot                        Debtor’s Insurers            •   Parent company Axa S.A. is: (a) the parent
XL Ins. Company                                                       company of Vendome Immobilier
                                                                      Commercial, the co-owner of current client
                                                                      Hauteville 2011; (b) the parent company of
                                                                      ESI ONE, a joint venture partner of former
                                                                      client Siresa House St. (closed 2021); and
                                                                      (c) the ultimate parent company of current
                                                                      client AB Private Credit Investors LLC;
                                                                      and
                                                                  •   Affiliate companies AXA Banque and
                                                                      AXA Home Loan SFH are clients in a
                                                                      current matter with current client Natixis.

Imerys S.A.                          Key Parties in Imerys Talc   •   Imerys S.A. is a current client; and
                                     America, Inc. and Cyprus
                                     Mines Corp. Chapter 11       •   Affiliate companies Imerys Clays, Inc.
                                     Cases                            (closed 2019); Imerys Talc Austria GmbH,
                                                                      Imerys Asia Pacific Pte Ltd. and Imerys
Imerys Talc America, Inc.            Significant Co-Defendants        Refractory Minerals USA, Inc.
                                     in Talc-Related Litigation       (all closed 2020); and Imerys USA, Inc.
                                                                      and Imerys Wollastonite USA (IWUSA)
                                     Material Potentially             LLC (both closed 2021) are former clients.
                                     Indemnified Parties
                                     and
                                     Key Parties in Imerys Talc
                                     America, Inc. and Cyprus
                                     Mines Corp. Chapter 11
                                     Cases

Imerys Talc Vermont, Inc.            Material Potentially
                                     Indemnified Parties
                                     and
                                     Key Parties in Imerys Talc
                                     America, Inc. and Cyprus
                                     Mines Corp. Chapter 11
                                     Cases

Imerys USA, Inc.                     Significant Co-Defendants
                                     in Talc-Related Litigation

Insurance Corporation of Singapore   Debtor’s Insurers            •   Affiliate company Aviva Investors Real
    Limited, n/k/a Aviva Ltd.                                         Estate Capital Global Co-Investment Fund,
                                                                      L.P. is a former client (closed 2020).




                                                         13
  Case 21-30589-MBK         Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                        Desc Main
                                   Document    Page 71 of 84



                                       RELATIONSHIP
     INTERESTED PARTY                     TO THE                     CLIENTS AND THEIR AFFILIATES
                                         DEBTOR

Johnson & Johnson and each of the   Other Non-Debtor             •   Johnson & Johnson is: (a) a current
affiliate companies included in     Affiliates                       client; and (b) the parent company of
Schedule 1 as attached hereto and                                    former client Actelion Parmaceuticals
incorporated herein                                                  Shanghai Co., Ltd. (closed 2020);
                                                                 •   Affiliate companies Shanghai Johnson &
                                                                     Johnson Pharmaceuticals Ltd.
                                                                     (closed 2019) and Janssen-Cilag GmbH
                                                                     (closed 2021) are former clients; and
                                                                 •   Affiliate company Johnson & Johnson
                                                                     Vision Care, Inc. is an investor in current
                                                                     client VisionWeb, Inc.
                                                                 •   See also entry above for DePuy France, et
                                                                     al.

Kaiser Gypsum Company               Significant Co-Defendants    •   Kaiser Gypsum Company, parent company
                                    in Talc-Related Litigation       HeidelbergCement AG; and affiliate
                                                                     companies Hanson Permanente Cement,
                                                                     Inc. and Hanson Limited are current
                                                                     clients;
                                                                 •   Affiliate company HeidelbergCement Asia
                                                                     Pte Limited is a former client
                                                                     (closed 2020);
                                                                 •   Affiliate company Hanson Australia
                                                                     Investments Pty Limited is a 50% joint
                                                                     venture partner in former client Metromix
                                                                     Pty Limited (closed 2021); and
                                                                 •   Affiliate company HeidelbergCapital
                                                                     Private Equity Fund I GmbH & Co. KG is
                                                                     a co-investor in former client
                                                                     Entrepreneurs Fund Management LLP
                                                                     (closed 2020).




                                                       14
  Case 21-30589-MBK           Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                       Desc Main
                                     Document    Page 72 of 84



                                       RELATIONSHIP
     INTERESTED PARTY                     TO THE                     CLIENTS AND THEIR AFFILIATES
                                         DEBTOR

LifeScan                            Other Non-Debtor             •   Parent company Platinum Equity LLC,
                                    Affiliates                       and affiliate companies Platinum Equity
                                                                     Advisors LLC, Cision US, Inc. and Wesco
                                                                     Aircraft Holdings, Inc. are current clients;
                                                                 •   Affiliate company Hanson Australia
                                                                     Investments Pty Limited is a 50% joint
                                                                     venture partner in former client Metromix
                                                                     Pty Limited (closed 2021);
                                                                 •   Affiliate companies NextiraOne, N.V. and
                                                                     Vertiv Group Corporation
                                                                     (both closed 2019); and Platinum Equity
                                                                     Capital Partners II, L.P. (closed 2020) are
                                                                     former clients.

Macy’s, Inc.                        Significant Co-Defendants    •   Macy’s, Inc. is a current client.
                                    in Talc-Related Litigation

Metropolitan Life Insurance         Significant Co-Defendants    •   Affiliated entity Metropolitan Life
   Company                          in Talc-Related Litigation       Insurance Company Separate Account
                                                                     No. 558 is a member of a current ad hoc
                                                                     group representation of NGL Energy
                                                                     bondholders.

Munich Reinsurance America, Inc.,   Debtor’s Insurer             •   Parent company Munchener
   f/k/a American Reinsurance                                        Ruckversicherungs-Gesellschaft AG
   Company                                                           (a/k/a Munich Reinsurance or Munich Re)
                                                                     is: (a) a client; and (b) a stockholder in
                                                                     current client DAS Holding N.V.; and
                                                                 •   Affiliate companies MEAG Munich Ergo
                                                                     AssetManagement GmbH and The MR
                                                                     Jordan, L.P. are current clients.

Nationwide                          Debtor’s Insurers            •   Parent company Nationwide Mutual
                                                                     Insurance Company; and affiliate
                                                                     companies Nationwide Bank, Nationwide
                                                                     Financial General Agency, Inc.,
                                                                     Nationwide General Insurance Company,
                                                                     Nationwide Life Insurance Company,
                                                                     Nationwide Mutual Fire Insurance
                                                                     Company, Nationwide Property and
                                                                     Casualty Insurance Company,
                                                                     Nationwide Variable Life Insurance
                                                                     Company, Nationwide Corporation,
                                                                     Nationwide Insurance Company of
                                                                     America, Nationwide Insurance Company
                                                                     of Florida, Nationwide Lloyds,



                                                        15
  Case 21-30589-MBK              Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                    Desc Main
                                        Document    Page 73 of 84



                                         RELATIONSHIP
     INTERESTED PARTY                       TO THE                     CLIENTS AND THEIR AFFILIATES
                                           DEBTOR
                                                                       Nationwide Agribusiness Insurance
                                                                       Company, Nationwide Assurance
                                                                       Company and Nationwide Realty
                                                                       Investors Ltd. are current clients;
                                                                   •   Affiliated entities Administrative
                                                                       Committee of the Nationwide Savings
                                                                       Plan, Human Resources Committee of the
                                                                       Board of Directors of Nationwide Mutual
                                                                       Insurance Company and Investment
                                                                       Committee of the Nationwide Savings
                                                                       Plan are current clients;
                                                                   •   Affiliate company Nationwide Insurance is
                                                                       a joint venture partner in current client
                                                                       Helios Infrastructure LLC; and
                                                                   •   Affiliated entity Benefit Investment
                                                                       Committee of the Nationwide Savings Plan
                                                                       is a former client (closed 2021).

NeuWave Medical, Inc.                 Other Non-Debtor             •   Parent company Ethicon, Inc. is a current
                                      Affiliates                       client.
                                                                   •   See also entry above for Ethicon, Inc., et
                                                                       al. regarding related disclosure.

Personal Care Products Council        Significant Co-Defendants    •   Personal Care Products Council is a former
                                      in Talc-Related Litigation       client (closed 2020).

Prudential Reinsurance Company        Debtor’s Insurers            •   Affiliate company Prudential Investment
                                                                       Company of Australia Pty Ltd. is a current
                                                                       client;
                                                                   •   Affiliate companies PPM America, Inc.
                                                                       and Prudential (PGIM) are members of a
                                                                       current ad hoc group representation of
                                                                       Envision term loan lenders;
                                                                   •   Affiliated company PGIM Broad Market
                                                                       High Yield Bond Fund, L.P. and other
                                                                       Prudential funds are members of former
                                                                       client Hexion 1.5 Lien Noteholder Group
                                                                       (closed 2019); and
                                                                   •   Affiliate company PGIM, Inc. is:
                                                                       (a) a member of a current ad hoc group
                                                                       representation of Intelsat Jackson
                                                                       unsecured noteholders; and (b) a member
                                                                       of a former group representation of
                                                                       Skillsoft Corporation first lien lenders




                                                          16
  Case 21-30589-MBK          Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                     Desc Main
                                    Document    Page 74 of 84



                                     RELATIONSHIP
     INTERESTED PARTY                   TO THE                     CLIENTS AND THEIR AFFILIATES
                                       DEBTOR
                                                                   closed in 2019.

Publix Super Markets, Inc.        Significant Co-Defendants    •   Publix Super Markets, Inc. is a former
                                  in Talc-Related Litigation       client (closed 2020).
                                  and
                                  Material Potentially
                                  Indemnified Parties

Rio Tinto America, Inc.           Material Potentially         •   Parent company Rio Tinto Plc is the
                                  Indemnified Parties              former employer and indemnitor of an
                                                                   individual who is a current client;
                                                               •   Affiliate company Alcan Holdings
                                                                   Nederland B.V. is a current client; and
                                                               •   Affiliate company Aluminum & Chemie
                                                                   Rotterdam B.V. is a former client
                                                                   (closed 2019).

Rite Aid Corporation              Material Potentially         •   Rite Aid Corporation is a former client
                                  Indemnified Parties              (closed 2021).
                                  and
                                  Significant Co-Defendants
                                  in Talc-Related Litigation

Safety National Casualty          Debtor’s Insurers            •   Affiliate company Tokio Marine Capital
    Corporation                                                    Co., Ltd. is a former client (closed 2020).

Safeway, Inc.                     Material Potentially         •   Safeway, Inc. is a former client
                                  Indemnified Parties              (closed 2020).
                                  and                          •   See also entry above for parent company
                                  Significant Co-Defendants        Albertsons Companies, Inc.
                                  in Talc-Related Litigation

Sanofi Aventis U.S. LLC           Significant Co-Defendants    •   Sanofi Aventis U.S. LLC, parent company
                                  in Talc-Related Litigation       Sanofi; and affiliate companies Sanofi
                                                                   HangZhou Pharmaceuticals Co., Ltd.,
                                                                   Sanofi-Aventis Participations SAS, Sanofi
                                                                   Aventis LLC, Sanofi U.S. Services, Inc.,
                                                                   Sanofi-Aventis Puerto Rico, Inc., Sanofi
                                                                   Pasteur, Sanofi U.S. LLC and Genzyme
                                                                   Corporation are current clients; and
                                                               •   Affiliate companies Sanofi Pasteur
                                                                   Biologics LLC (closed 2019); Sanofi-
                                                                   Aventis U.S., Inc., Sanofi-Aventis de
                                                                   Venezuela S.A., Sanofi-Aventis Argentina,
                                                                   S.A., Sanofi-Aventis de Colombia S.A.,



                                                      17
Case 21-30589-MBK    Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01            Desc Main
                            Document    Page 75 of 84



                             RELATIONSHIP
  INTERESTED PARTY              TO THE            CLIENTS AND THEIR AFFILIATES
                               DEBTOR
                                                  Sanofi-Aventis de Mexico S.A. de C.V.,
                                                  and Sanofi-Aventis Netherlands, B.V.
                                                  (all closed 2020); and Sanofi-Aventis
                                                  Deutschland GmbH, Sanofi-Aventis
                                                  Australia Pty Ltd., Sanofi Ventures, et al.,
                                                  Sanofi Genzyme and Sanofi Aventis
                                                  Groupe, et al. are former clients
                                                  (all closed 2021).
                                              •   See also entry above for Chattem, Inc.




                                       18
  Case 21-30589-MBK            Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                        Desc Main
                                      Document    Page 76 of 84



                                         RELATIONSHIP
      INTERESTED PARTY                      TO THE                     CLIENTS AND THEIR AFFILIATES
                                           DEBTOR

Shulton, Inc.                         Significant Co-Defendants    •   Parent company The Procter & Gamble
                                      in Talc-Related Litigation       Company is: (a) a current client; and
                                                                       (b) a joint venture partner in current client
                                                                       SPD Swiss Precision Diagnostics GmbH;
                                                                   •   Affiliate companies Procter & Gamble
                                                                       France SAS, Procter & Gamble
                                                                       International Operations S.A., Procter &
                                                                       Gamble Germany GmbH & Co.
                                                                       Operations oHG, Procter & Gamble
                                                                       Manufacturing Berlin GmbH, Procter &
                                                                       Gamble Manufacturing Mexico S. de R.L.
                                                                       de C.V., Procter & Gamble Amiens,
                                                                       Procter & Gamble Manufacturing GmbH,
                                                                       Procter & Gamble Australia Pty Ltd.,
                                                                       Procter & Gamble Distribution Company
                                                                       Europe BVBA, (a/k/a Procter & Gamble
                                                                       DCE BVBA); and Procter & Gamble
                                                                       Manufactura, S. de R.L. de C.V. are
                                                                       current clients; and
                                                                   •   Affiliate company Procter & Gamble
                                                                       International Operations S.A. (Singapore
                                                                       Branch) is a former client (closed 2020).

Skadden, Arps, Slate, Meager &        Debtors' Significant         •   An individual partner at Skadden, Arps,
   Flom LLP                           Ordinary Course                  Slate, Meager & Flom LLP is a former
                                      Professionals,                   client (closed 2020)
                                      Consultants, and Service
                                      Providers

State of Texas, Attorney General of   Bankruptcy Rule 2002         •   Texas state governed entity, Texas County
    Texas                             Appearances                      & District Retirement System, is a member
                                                                       of a former defense group representation of
                                                                       General Motors term lenders
                                                                       (closed 2020).




                                                        19
  Case 21-30589-MBK           Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                   Desc Main
                                     Document    Page 77 of 84



                                      RELATIONSHIP
     INTERESTED PARTY                    TO THE                     CLIENTS AND THEIR AFFILIATES
                                        DEBTOR

Transamerica Premier Insurance     Debtor’s Insurers            •   Parent company Aegon N.V. is a joint
    Company                                                         venture owner of Amvest Vastgoed B.V.,
                                                                    the parent company of current client
                                                                    Amvest RCF Custodian B.V.; and
                                                                •   Affiliate company TransAmerican Asset
                                                                    Management, Inc. and affiliated entities
                                                                    Transamerica Aegon High Yield Bond VP
                                                                    and Transamerica Series Trust are
                                                                    members of a former defense group
                                                                    representation of General Motors term
                                                                    lenders closed in 2020.

U.S. Bank, N.A.                    Parties to Material          •   U.S. Bank, N.A., parent company U.S.
                                   Contracts with the Debtor        Bancorp; and affiliate companies U.S.
                                                                    Bank Trust Company, National
                                                                    Association and U.S. Bank Corporate
                                                                    Trust Services are current clients.

R. T. Vanderbilt Company, Inc.     Significant Co-Defendants    •   R.T. Vanderbilt Company, Inc. and
Vanderbilt Minerals LLC            in Talc-Related Litigation       affiliate company Vanderbilt Minerals
                                                                    LLC are current clients.

ViacomCBS, Inc., (f/k/a CBS        Significant Co-Defendants    •   ViacomCBS, Inc. (f/k/a CBS Corporation)
    Corporation)                   in Talc-Related Litigation       and affiliated companies CBS UK, CBS
                                                                    Technologies and CBS International
                                                                    (Netherlands) B.V. are former clients
                                                                    (all closed 2021); and
                                                                •   Affiliate company Network Ten Pty
                                                                    Limited is a current client.

Walgreen Company                   Significant Co-Defendants    •   Walgreen Company is: (a) a current client;
                                   in Talc-Related Litigation       and (b) a current client in a matter with
                                                                    R.J. Reynolds Tobacco Company, the
                                                                    indemnitor for Walgreen’s.

Walmart, Inc.                      Material Potentially         •   Walmart, Inc. and affiliate company
                                   Indemnified Parties              Walmart Stores East, L.P. are current
                                   and                              clients; and
                                   Significant Co-Defendants    •   Affiliate companies Wal-Mart Stores
                                   in Talc-Related Litigation       Arkansas LLC (closed 2019) and Nueva
                                                                    Wal Mart de México, S. de R.L. de C.V.
                                                                    (closed 2020) are former clients.




                                                       20
  Case 21-30589-MBK           Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                  Desc Main
                                     Document    Page 78 of 84



                                      RELATIONSHIP
     INTERESTED PARTY                    TO THE                     CLIENTS AND THEIR AFFILIATES
                                        DEBTOR

Yves Saint Laurent America, Inc.   Significant Co-Defendants    •   Parent company Kering S.A. is a former
                                   in Talc-Related Litigation       client (closed 2021); and
                                                                •   Affiliate company Kering Holland N.V. is
                                                                    a current client.

    NAI-1522463295v5




                                                     21
Case 21-30589-MBK          Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01               Desc Main
                                  Document    Page 79 of 84



                                           SCHEDULE 3

                                Nonexclusive List of Certain Jones Day
                        Professionals and Their Current Standard Hourly Rates

                                                                        BILLING RATE
          NAME                LOCATION             POSITION            IN EFFECT AS OF
                                                                      THE PETITION DATE
    Rebekah E. Blake            New York             Partner                    $1,150.00

   Ann M. Bomberger             New York             Partner                    $1,125.00

      Brad B. Erens              Chicago             Partner                    $1,300.00

   Gregory M. Gordon              Dallas             Partner                    $1,450.00

      Paul M. Green              Houston             Partner                    $1,100.00

     James M. Jones             New York             Partner                    $1,350.00

      Troy B. Lewis               Dallas             Partner                    $1,150.00

        Dan Merrett              Atlanta             Partner                    $1,025.00

  Mark W. Rasmussen               Dallas             Partner                    $1,050.00

    David S. Torborg           Washington            Partner                    $1,125.00

        Katie Wall                Dallas             Partner                    $1,000.00

       Dan B. Prieto              Dallas           Of Counsel                   $1,050.00

    Caitlin K. Cahow             Chicago            Associate                   $925.00

   Amanda P. Johnson             Chicago            Associate                   $625.00

       Isel M. Perez              Miami             Associate                   $625.00

      Amanda Rush                 Dallas            Associate                   $975.00

    Daniel C. Villalba           Chicago            Associate                   $575.00

     Christa L. Smith             Dallas            Paralegal                   $400.00




 NAI-1522055035
Case 21-30589-MBK   Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01   Desc Main
                           Document    Page 80 of 84



                                   EXHIBIT D

                      Disclosure of Compensation of Jones Day




 NAI-1522055035
Case 21-30589-MBK            Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                           Desc Main
                                    Document    Page 81 of 84



                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION


 In re                                                            Chapter 11

 LTL MANAGEMENT LLC, 1                                            Case No. 21-30589 (JCW)

                          Debtor.


                       DISCLOSURE OF COMPENSATION OF JONES DAY

                  Pursuant to section 329(a) of the Bankruptcy Code, Bankruptcy Rule 2016(b) and

 Local Bankruptcy Rule 2016-1, I, Gregory M. Gordon hereby certifies as follows:

                  1.      I am a partner with the law firm of Jones Day and am duly authorized to

 make this Disclosure of Compensation on behalf of Jones Day in connection with the Debtor’s

 Ex Parte Application for an Order Authorizing It to Retain and Employ Jones Day as Counsel as

 of the Petition Date (the “Application”). 2 The facts set forth in this Disclosure of Compensation

 are personally known to me and, if called as a witness, I could and would testify thereto.

                  2.      Prior to the Petition Date, on October 12, 2021, Old JJCI paid Jones Day a

 retainer of $500,000.00 for professional services and expenses provided or to be provided to the

 Debtor (the “Retainer”).

                  3.      The Retainer represents the total payment Jones Day received for services

 provided to the Debtor in the one-year period preceding the Petition Date. As of the Petition

 Date, the Retainer balance was $0.00. The application of the Retainer through the Petition Date




 1       The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
         501 George Street, New Brunswick, New Jersey 08933.
 2
         Capitalized terms not otherwise defined herein have the meanings given to them in the Application.




 NAI-1522055035
Case 21-30589-MBK            Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                           Desc Main
                                    Document    Page 82 of 84



 reflects estimated fees and expenses for the period from October 12, 2021 through October 14,

 2021 (the “Debtor Estimated Amount”).

                  4.      Jones Day expects to: (a) complete its reconciliation of prepetition fees

 and expenses actually incurred for the period prior to the Petition Date no later than the filing of

 its first interim fee application in the Chapter 11 Case; (b) make a corresponding adjustment to

 the amount of the Retainer on or about that date; and (c) disclose such adjustment in its first

 interim fee application. If Jones Day’s unbilled actual fees and expenses prior to the Petition

 Date are less than the Debtor Estimated Amount, the balance will be added to the Retainer and

 applied by Jones Day consistent with the terms of the Interim Compensation Order. Jones Day

 will not apply any portion of the Retainer to fees and expenses incurred from and after the

 Petition Date unless and until authorized to do so by a further order of this Court, including an

 Interim Compensation Order.

                  5.      Jones Day requests that it be permitted to hold any amounts comprising

 the Retainer (following the reconciliation described herein) as a postpetition retainer subject to

 the terms of the Interim Compensation Order.

                  6.      In addition, prior to the Petition Date, J&J paid Jones Day a total of

 $4,953,859.25 for actual fees and expenses for March 30, 2021 through August 31, 2021 and

 estimated fees and expenses for September 1, 2021 through October 11, 2021 (the “J&J

 Estimated Amount”) 3 relating to certain prepetition legal services provided to J&J and Old JJCI,

 in connection with (a) advice regarding restructuring matters related to talc liabilities; (b) the

 corporate restructuring completed on October 12, 2021; and (c) other related legal services. As

 3
         Jones Day expects to complete its reconciliation of fees and expenses actually incurred for September 1,
         2021 through October 11, 2021 soon. Upon completion of the reconciliation process, if Jones Day’s
         unbilled actual fees and expenses for that period are less than the J&J Estimated Amount, the balance of
         those funds will be returned to J&J.




 NAI-1522055035                                         -2-
Case 21-30589-MBK           Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                          Desc Main
                                   Document    Page 83 of 84



 described in the Gordon Declaration, as a result of this corporate restructuring, the Debtor was

 assigned Jones Day’s engagement with Old JJCI. 4 Jones Day’s representation of J&J in respect

 of restructuring matters was terminated as of October 12, 2021.

                  7.      An accounting of prepetition payments made to Jones Day by Old JJCI

 and J&J in the one-year period preceding the Petition Date is attached hereto as Schedule 1.

                  8.      To the best of my knowledge, information and belief, insofar as I have

 been able to ascertain after reasonable inquiry, neither I nor Jones Day, nor any partner or

 associate thereof, has received or been promised any compensation for legal services rendered or

 to be rendered in any capacity in connection with the Chapter 11 Case, other than as permitted by

 the Bankruptcy Code. Jones Day has not agreed to share compensation received in connection

 with this case with any other person, except as permitted by section 504(b) of the

 Bankruptcy Code and Bankruptcy Rule 2016(b) in respect of the sharing of compensation among

 Jones Day’s partners.

 Dated: November 15, 2021                                 /s/ Gregory M. Gordon
        Dallas, Texas                                     Gregory M. Gordon (TX Bar No. 08435300)
                                                          JONES DAY
                                                          2727 North Harwood Street
                                                          Dallas, Texas 75201
                                                          Telephone: (214) 220-3939
                                                          Facsimile: (214) 969-5100




 4
         The terms of Jones Day’s engagement by Old JJCI in respect of restructuring advice were superseded in
         their entirety by the Engagement Letter.




 NAI-1522055035                                        -3-
Case 21-30589-MBK             Doc 404 Filed 11/15/21 Entered 11/15/21 13:01:01                         Desc Main
                                     Document    Page 84 of 84



                                                 SCHEDULE 1

                                      Accounting Summary of Payments

                      PAYMENTS RECEIVED FOR SERVICES TO J&J AND OLD JJCI

           DATE               INVOICE AMOUNT                TRANSACTION               PAYMENTS RECEIVED

       July 22, 2021                  $479,247.75         Payment of Invoice                        $479,247.75

       July 22, 2021                  $195,338.25         Payment of Invoice                        $195,338.25

     September 7, 20211               $211,484.25         Payment of Invoice                        $210,172.50

     September 22, 2021               $179,255.25         Payment of Invoice                        $178,348.50

     October 12, 2021 2             $4,370,000.00         Payment of Invoice                     $4,370,000.00

                          RETAINER RECEIVED FOR SERVICES TO THE DEBTOR

           DATE               INVOICE AMOUNT                TRANSACTION               PAYMENTS RECEIVED

                                                            Initial Retainer
      October 12, 2021                $500,000.00                                                   $500,000.00
                                                                Payment

 TOTAL RETAINER PAYMENT RECEIVED FROM THE DEBTOR:                                                   $500,000.00

                                              RETAINER BALANCE

 BALANCE OF THE RETAINER AS OF THE PETITION DATE:                                                             $0.00




 1
           The difference between the invoiced amount and the payment received for September 7 and 22, 2021
           reflects amounts written-off by Jones Day.
 2
           J&J paid this invoice on or about October 8, 2021, and such payment was received by Jones Day on
           October 12, 2021.




 NAI-1522055035
